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          EXHIBIT A
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                                                SUPERIOR COURT OF NEW JERSEY
  NEW JERSEY DEPARTMENT OF                      LAW DIVISION
  ENVIRONMENTAL PROTECTION; THE
  COMMISSIONER OF THE NEW JERSEY                SALEM COUNTY
  DEPARTMENT OF ENVIRONMENTAL
  PROTECTION; and THE                           DOCKET NO. L-000057-19
  ADMINISTRATOR OF THE NEW JERSEY
  SPILL COMPENSATION FUND,                                 CIVIL ACTION

                Plaintiffs,                      FIRST AMENDED COMPLAINT AND
                                                      JURY TRIAL DEMAND
  v.

  E.I. DUPONT DE NEMOURS &
  COMPANY; THE CHEMOURS COMPANY;
  THE CHEMOURS COMPANY FC, LLC;
  THE 3M COMPANY; AND “ABC
  CORPORATIONS” 1-10 (NAMES
  FICTITIOUS),

                Defendants.
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        Plaintiffs,        the     New    Jersey    Department     of   Environmental

 Protection (the “Department” or “NJDEP”), the Commissioner of the

 Department of Environmental Protection (“Commissioner”), and the

 Administrator        of     the     New    Jersey     Spill      Compensation   Fund

 (“Administrator”) (collectively “Plaintiffs” or the “State”), file

 this First Amended Complaint against the above-named defendants

 (the “Defendants”), and allege as follows:

                                 STATEMENT OF THE CASE

        1.     Plaintiffs bring this civil action against Defendants

 pursuant to the Spill Compensation and Control Act, N.J.S.A. 58:10-

 23.11 to -23.24 (the “Spill Act”); the Water Pollution Control

 Act, N.J.S.A. 58:10A-1 to -20 (the “WPCA”); the Industrial Site

 Recovery Act, N.J.S.A. 13:1K-6 to -13.1 (“ISRA”); the Brownfield

 and    Contaminated       Site     Remediation       Act,   N.J.S.A.    58:10B-1    to

 58:10B-31 (the “Brownfields Act”); the Solid Waste Management Act,

 N.J.S.A. 13:1E-1, et seq. (“SWMA”); the Air Pollution Control Act,

 N.J.S.A. 26:2C-1, et seq.; the Department’s enabling statute,

 N.J.S.A. 13:1D-1, et seq.; the Uniform Fraudulent Transfer Act,

 Del. Code. tit. 6, §§ 1301 to 1312, N.J.S.A. 25:2-20 to 25:2-34;

 and the common law of New Jersey for cleanup and removal costs,

 damages,     and    other       relief    as   a   result   of   the   discharges   of

 hazardous substances and pollutants by E.I. du Pont de Nemours &

 Company (“DuPont”), The Chemours Company (“Chemours”), and The

 Chemours Company FC, LLC (“Chemours FC”) at and from the Chambers


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 Works    facility,   located     at    67       Canal    Road    and   Route    130,   in

 Pennsville and Carneys Point Townships, Salem County (“Chambers

 Works” or “Site”).

         2.   Throughout    its   125       years    of    operations       at   Chambers

 Works, DuPont has produced, utilized, and discharged into the

 environment approximately 1,200 chemicals, pollutants, and other

 hazardous    substances.         As    a    result       of     DuPont’s    processes,

 emissions, and waste disposal practices, Chambers Works is one of

 the most contaminated sites in New Jersey.                      It is saturated with

 a wide variety of pollutants and hazardous substances, including

 semi-volatile      organic    compounds           (“SVOCs”),       volatile      organic

 compounds     (“VOCs”),      metals,       pesticides,          and    polychlorinated

 biphenyls (“PCBs”), as well as per- and polyfluoroalkyl substances

 (“PFAS”).

         3.   For decades, the Department has worked to allow DuPont

 to investigate and remediate Chambers Works without the need for

 enforcement or litigation.         However, it has recently become clear

 that DuPont has not been working in good faith to address the

 contamination it released into New Jersey’s environment.                        Instead,

 DuPont knowingly concealed the true nature of the chemicals it

 discharged, while simultaneously moving forward with a corporate

 reorganization that moved its “performance chemicals” businesses

 (including its PFAS-related product lines), the Site itself, and

 the associated liabilities to Chemours and Chemours FC and away


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 from DuPont (and tens of billions of dollars of its assets).

 DuPont also concealed from the Department and the community the

 extent and nature of the environmental injuries its contaminants

 caused.

         4.   For example, for over 50 years, DuPont emitted vast

 quantities     of    PFAS   chemicals—including       perfluorooctanoic      acid

 (“PFOA”) and perfluorononanoic acid (“PFNA”)—from Chambers Works.

 For most of that time, DuPont had clear and unequivocal knowledge

 that:    PFOA, PFNA and other PFAS compounds are extremely resistant

 to degradation, they persist indefinitely in the environment, they

 bioaccumulate in blood, and they pose a substantial threat to human

 health and the environment.           Yet, DuPont actively concealed the

 true nature of PFAS compounds, while it utilized, discharged,

 emitted, released, and dumped vast quantities of these compounds

 into New Jersey’s air, waters, and natural resources.                      DuPont

 knowingly undertook this course of conduct for one reason:                       to

 maximize     its    profits   from   Teflon®    and   myriad     other    consumer

 products and industrial uses for PFAS-containing compounds.                  Both

 DuPont and The 3M Company (“3M”) put their profits above the public

 health, safety, and the environment of New Jersey.

         5.   Although DuPont and 3M, which supplied PFOA to DuPont

 for use at its facilities, knew of these dangers for decades,

 regulatory agencies around the world are only now coming to

 understand     the     true   nature     and    dangers     of    these     global


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 contaminants.        Today, the State is expending substantial public

 resources to investigate PFAS compounds, including replacement

 compounds such as “GenX”, their toxicity and impacts to human

 health and the environment, and to locate, remediate, treat, and/or

 restore New Jersey’s natural resources that are impacted with these

 “forever chemicals.”

       6.     Not only is there significant PFAS contamination at

 Chambers Works, but PFAS compounds also dispersed through the

 Site’s air emissions to locations miles away. For example, testing

 of private drinking water wells miles from Chambers Works have

 recently revealed PFOA at levels that exceed both the interim and

 proposed applicable criteria for the compound.                  Likewise, PFAS

 compounds    have     been   located   in   drinking     water,     groundwater,

 surface waters, sediments, soils, air, fish, plants, and other

 natural resources emanating from Chambers Works and in other sites

 across New Jersey.

       7.     Accordingly,     the   State    is   bringing    this    action     to

 require Defendants to pay all of the costs necessary to fully

 investigate and delineate all of the PFAS compounds and other

 pollutants     and     hazardous    substances      that     were    discharged,

 released, and/or emitted from Chambers Works, wherever they may

 have come to rest.      Likewise, the State is seeking that Defendants

 pay all costs necessary to investigate, remediate, assess, and

 restore the Site itself and all of the off-site areas and natural


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 resources of New Jersey that have been contaminated from Chambers

 Works, except that the State is explicitly reserving its claims to

 remediate and restore the Delaware River until such time as the

 investigation work is more fully complete.              Additionally, in this

 litigation, the State is not asserting claims, costs, or damages

 associated with aqueous film-forming foam (“AFFF”), which is a

 particular product that contains PFAS compounds, as that is the

 subject of a separate action.

       8.    Finally, the State is also seeking from Defendants all

 damages to which the State is entitled to recover, including

 damages for injuries to all natural resources, property damages,

 economic damages, restitution and disgorgement of DuPont’s and

 3M’s ill-gotten profits, punitive damages, and all other damages,

 costs, and equitable relief to which it may be entitled.

                                   THE PARTIES

       9.    The Department is a principal department within the

 Executive Branch of the State government.            Under the leadership of

 the Commissioner, it is vested with the authority to conserve

 natural resources, protect the environment, prevent pollution, and

 protect the public health and safety.            N.J.S.A. 13:1D-9; N.J.S.A.

 58:10-23.11b; N.J.S.A. 58:10A-3.

       10.   The   State    is   the   trustee,    for   the    benefit    of     its

 citizens, of all natural resources within its jurisdiction.                      The

 Department is vested with the authority to protect this public


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 trust and to seek compensation for any injury to the natural

 resources of this State.        N.J.S.A. 58:10-23.11a.        In addition, the

 State may act in its parens patriae capacity to protect the State’s

 “quasi-sovereign” interests, including its interest in the health

 and well-being of its residents and the integrity of its natural

 resources.    The Department brings this case in its trustee, parens

 patriae, and regulatory (police power) capacities, as well as in

 its capacity as an owner of real property directly impacted by

 contamination originating from the Site.

       11.    Plaintiff    Commissioner      is   the    Commissioner      of     the

 Department.        N.J.S.A.     58:10-23.11b;      N.J.S.A.     58:10A-3;        and

 N.J.S.A. 13:1B-2.      In this capacity, the Commissioner is vested by

 law with various powers and authority, including those conferred

 by the Department’s enabling legislation.              N.J.S.A. 13:1D-1 to -

 19; N.J.S.A.13:1B-3.

       12.    Plaintiff Administrator is the Chief Executive Officer

 of the New Jersey Spill Compensation Fund (“the Spill Fund”).

 N.J.S.A. 58:10-23.11j.         As Chief Executive Officer of the Spill

 Fund, Plaintiff Administrator is authorized to approve and pay any

 cleanup and removal costs the Department incurs, N.J.S.A. 58:10-

 23.11f(c) and (d), and to certify the amount of any claim to be

 paid from the Spill Fund.         N.J.S.A. 58:10-23.11j(d).




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       13.   Defendant DuPont is a corporation duly organized under

 the laws of the State of Delaware, with its principal place of

 business located at 974 Centre Road, Wilmington, Delaware 19805.

       14.   Defendant Chemours is a corporation duly organized under

 the laws of the State of Delaware, with its principal place of

 business    located    at   1007   Market    Street,    Wilmington,     Delaware

 19899. In 2015, DuPont spun off its performance chemicals business

 to Chemours, along with certain environmental liabilities.

       15.   Defendant Chemours FC is a limited liability company

 duly organized under the laws of the State of Delaware, with its

 principal    place    of    business   located     at   1007   Market     Street,

 Wilmington, Delaware 19899.             Chemours FC is a subsidiary of

 Chemours that was formed in April 2014.            Chemours FC has owned the

 Site since February 2015.

       16.   Defendant 3M is a corporation duly organized under the

 laws of the State of Minnesota, with its principal place of

 business located at 3M Center, St. Paul, Minnesota 55144-1000.

       17.   Defendants “ABC Corporations” 1-10, these names being

 fictitious,     are    entities      with    identities      that    cannot      be

 ascertained as of the filing of this Complaint, certain of which

 are corporate successors to, predecessors of, or are otherwise

 related to, the identified defendants in this matter, or which are

 otherwise liable for the causes of action set forth herein.




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                            AFFECTED NATURAL RESOURCES

       18.   The “natural resources” of this State are all land, fish,

 shellfish, wildlife, biota, air, water, and other such resources

 owned, managed, held in trust or otherwise controlled by the State.

 N.J.S.A. 58:10-23.11b.

       19.   The natural resources of this State include the “waters

 of the State,” which are the ocean and its estuaries, all springs,

 streams and bodies of surface or groundwater, whether natural or

 artificial, within the boundaries of this State or subject to its

 jurisdiction.       N.J.S.A. 58:10A-3(t).

       20.   New Jersey’s habitats and ecosystems—forests, lakes,

 rivers,     wetlands,        agricultural      lands,    coastal      estuaries,

 pinelands, and grasslands—are some of the most threatened in the

 nation.      They    are    vulnerable   to    pollution,      degradation,      and

 destruction     from    the    discharge      of   hazardous    substances       and

 pollutants.

       21.   Hazardous substances and pollutants have been found in

 the groundwater, surface water, sediments, soils, wetlands, air,

 and other natural resources at and around Chambers Works.

       22.   These natural resources have intrinsic (i.e., inherent

 existence) values.         The current and future residents of New Jersey

 have a substantial interest in a clean environment.




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                                    Groundwater

       23.    Groundwater—that      is,    water    that   exists     beneath      the

 Earth’s surface—is an extremely important natural resource for the

 people of New Jersey.         More than half of New Jersey’s population

 obtains drinking water from groundwater sources, and more than 900

 million gallons of water per day are used for that purpose.

       24.    Private wells, which provide access to groundwater, are

 widely used in the residential communities around the Site.                  Wells

 are used for drinking water, irrigation, and filling swimming

 pools, among other things.

       25.    Not only does groundwater serve as a source of potable

 water, it also serves as an integral part of the State’s ecosystem.

 Groundwater provides base flow to streams and influences surface

 water quality, wetland ecological conditions, and the health of

 the aquatic ecosystem.

       26.    Groundwater also provides cycling and nutrient movement

 within and among the State’s bodies of water and wetlands, prevents

 saltwater     intrusion,     provides     ground    stabilization,       prevents

 sinkholes,     and   helps    to   maintain       critical   water    levels      in

 freshwater wetlands.

       27.    Groundwater and the other natural resources of the State

 are unique resources that help sustain the State’s economy.

       28.    Groundwater at the Site is heavily contaminated with

 hazardous     substances     and   pollutants,      including      SVOCs,    VOCs,



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 metals,     polycyclic       aromatic     hydrocarbons        (“PAHs”),      PCBs,

 pesticides, and PFAS.        Contaminated groundwater has also migrated

 off-site, including to the Salem Canal and the Delaware River.

 Discharges     and    releases     of    PFAS   have    further    resulted       in

 contamination of groundwater in the surrounding area, miles from

 Chambers Works.

                                  Surface Water

       29.    Surface waters are a critical ecological resource of New

 Jersey.     New Jersey’s surface water—which includes all water in

 the State’s lakes, streams, and wetlands—is a primary source of

 drinking    water    in   the   State.        Nearly   half   of   New   Jersey’s

 population obtains its drinking water from surface water sources,

 and approximately 850 million gallons of surface water per day is

 used for that purpose.

       30.    Surface water in New Jersey is also used for other

 commercial and industrial purposes, such as cooling water and

 electrical generation, boating, fishing, and transportation of

 goods and services.

       31.    The tourism and recreation industries, which are vital

 to the State's economy, are dependent on clean water and beaches.

       32.    Surface waters also provide commercial, recreational,

 aesthetic, and ecological value, including by supporting aquatic

 ecosystems, nearby communities, and the citizens of the State.




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       33.   The surface waters located at the Site include the

 Delaware River, the Salem Canal, Whooping John Creek, Boutons

 Creek, Hanby Creek, and on-site wetlands and ponds.

       34.   Hazardous substances and pollutants, discharged at the

 Site, including SVOCs and metals, have reached and adversely

 affected surface waters on and off-site.

                                Sediments and Soils

       35.   New Jersey’s land and aquatic resources are comprised of

 unique and complex ecosystems.

       36.   Sediments     and    soils   are   critical     components    of      New

 Jersey ecological resources.

       37.   Sediments and soils can sustain a wide diversity of

 plants and animals that are essential in a healthy ecosystem. They

 provide a living substrate for submerged and emergent flora and

 that support diverse invertebrate species, wading birds, and fish

 and shellfish populations.

       38.   Hazardous substances and pollutants, discharged from the

 Site, including SVOCs, VOCs, PAHs, metals, total PCBs, pesticides

 and PFAS, have reached and adversely affected sediments and soils

 on and off-site.

                                     Wetlands

       39.   Wetlands     are    a   critical    component     of   New   Jersey’s

 ecological resources, which include land and aquatic resources

 comprised of unique and complex ecosystems.



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         40.    New Jersey has approximately 730,000 acres of freshwater

 wetlands and 250,000 acres of coastal wetlands.

         41.    Wetlands can sustain a wide diversity of plants and

 animals that are essential in a healthy food chain.

         42.    Wetlands    perform     many    additional    functions,      which

 include       the   improvement   of   water    quality,    sediment   trapping,

 groundwater recharge, shoreline protections, and protecting land

 from flooding and erosion.

         43.    Hazardous   substances     and    pollutants,     discharged        at

 Chambers Works, have reached and adversely impacted wetlands on

 and off-site.

                                         Air

         44.    Air resources are vital to life.              Pollution of air

 resources can injure human health and welfare, flora and fauna,

 and property, and can unreasonably interfere with the enjoyment of

 life and property in areas affected by such pollution.                            Air

 deposition (i.e., deposits of air contaminants on the Earth’s

 surface) can also be a source of contamination to other types of

 natural resources, including surface water, groundwater, sediments

 and soils, wetlands, forests, and biota.

         45.    Air pollution from activities at Chambers Works has

 contaminated surrounding natural resources with PFAS, including

 but not limited to groundwater, up to five miles away from the

 Site.



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       46.   When    subsurface     air   is   contaminated     with    VOCs,      the

 subsurface air (i.e., soil gas) can become a source of contaminated

 air to the structures above, causing vapor intrusion.

                                       Biota

       47.   Biota, including the flora and fauna of the State, are

 critical ecological resources.            New Jersey is home to more than

 2,000 plant species, which include entire communities of rare flora

 that cannot be found anywhere else in the world.               Approximately 15

 percent of the native plant species in New Jersey, however, are

 now at risk of extinction, with a total of 331 vascular plant

 species listed as endangered and an additional 32 that have already

 been extirpated.

       48.   New Jersey wildlife includes approximately 900 species,

 including 90 mammal species, 79 reptile and amphibian species,

 more than 400 fish species, and approximately 325 species of birds.

 Approximately 1.5 million shorebirds and as many as 80,000 raptors

 make migratory stopovers in the State each year.

       49.   At least 17 percent of New Jersey’s native vertebrate

 species and 24 percent of its native invertebrate species are at

 risk of extinction.          Several threatened and endangered raptor

 species have difficulty breeding because of the bioaccumulation of

 toxic compounds.

       50.   New    Jersey’s      biodiversity       provides     a    wealth      of

 ecological, social, and economic goods and services that are an



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 integral part of the ecological infrastructure for all cultural

 and economic activity in the State.

       51.    Contamination from the discharge of hazardous substances

 and pollutants is one of the major causes of biodiversity loss.

       52.    Natural    resource       injuries   to   biota    in   New   Jersey

 negatively     impact    not    only    the   individual     species     directly

 involved, but the capacity of the injured ecosystems to regenerate

 and sustain such life into the future.

       53.    Hazardous     substances      and    pollutants     discharged       at

 Chambers Works have reached and adversely impacted biota on and

 off-site.

                                FACTUAL ALLEGATIONS

       54.    Chambers Works spans approximately 1,455 acres of real

 property located at 67 Canal Road and Route 130 in Pennsville and

 Carneys Point Townships in Salem County, designated as Block 22,

 Lots 1, 2, 3, 4, 5, 6, 7, 8, 9 and 10, and Block 301, Lots 1, 2,

 3, 4 and 5 in Pennsville Township, and Block 185, Lot 1 in Carneys

 Point Township.

       55.    Chambers Works is located along the eastern shore of the

 Delaware River.      The Site extends approximately 2.7 miles between

 Helms Cove to the north, and the Salem Canal to the south.

       56.    The Site is comprised of the former Carneys Point Works

 in the northern area, and the Chambers Works manufacturing area in




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 the southern area.        Whooping John Creek generally separates the

 two areas.

       57.    To the north and the east of the Site are residential

 neighborhoods.

 Site Ownership

       58.    In 1891, the DuPont Powder Company purchased farm land

 and built Carneys Point Works.               Over the next 20 years, DuPont

 expanded its footprint by purchasing adjacent parcels.                   By 1914,

 DuPont’s gunpowder operations had expanded southward, into the

 Chambers Works manufacturing area.

       59.    DuPont owned or operated the contiguous property at

 Chambers Works from 1927 until 2015.

       60.    On or around January 23, 2015, DuPont transferred the

 Chambers Works real property by deed to Chemours FC.                 Chemours FC

 took the property with full knowledge that it was contaminated.

       61.    In 2015, DuPont leased a portion of Chambers Works from

 Chemours FC to continue its operations of its non-performance

 chemical businesses at the Site.             As recently as 2018, DuPont was

 using       that    portion      of     the     property      to     manufacture

 fluoroelastomers.

       62.    Chemours FC currently owns the Site, and has been the

 owner since February 2015.

 Site Operations




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       63.    Operations at the facility first began in or about 1892,

 when Carneys Point Works began manufacturing smokeless gunpowder,

 nitrocellulose, and other products.              DuPont used various materials

 to produce these chemicals, including ether, amines, plasticizers,

 nitroglycerin salts, nitric acid and sulfuric acid.                   Carneys Point

 Works operated until 1979.

       64.    DuPont       began     manufacturing      and     producing     dye   and

 specialty chemicals at the Dye Works part of the Site in or about

 1917 and gradually expanded as other product lines were added.                     In

 or about 1944, the Dye Works was renamed as Chambers Works. DuPont

 produced approximately 700 different dyes at Chambers Works from

 1917 through 1979.              These operations used numerous chemicals

 including organic mercury, amino compounds, benzene, nitrobenzene,

 chlorobenzene, phenols, acids, aniline, toluene, nitrotoluene,

 toluidine,        sulfur,       naphthalene,        sodium     hydroxide,      sodium

 hydrosulfide,         aluminum        chloride,        aromatic       hydrocarbons,

 chlorinated aromatics, polymers, elastomers, methlyamines, and

 ethyl chloride.

       65.    In the 1920s, DuPont began manufacturing refrigerants

 including Freon®, and tetraethyl lead (“TEL”).                       TEL production

 involved the use of hydrofluoric acid, sulfuric acid, hydrochloric

 acid, carbon tetrachloride, fluorospar, and antimony.

       66.    In     the     1940s,      DuPont      added      aromatic      chemical

 manufacturing      to     its     operations   at    the     Site,   which   involved


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 petroleum hydrocarbons, acids, solvents, inorganics, and aromatic

 hydrocarbons.

         67.   As further described below, DuPont began using PFOA in

 manufacturing processes at Chambers Works in the late 1950s.

         68.   In    or   around    the   1960s,     DuPont    began    to   produce

 elastomers at Chambers Works, which production involved organic

 isocyanates, phosgene, dinitrotoluene, and hydrochloric acid.

         69.   By the late 1970s and early 1980s, DuPont discontinued

 its     explosive     and   dye   manufacturing      divisions,       leaving    only

 chemical manufacturing at the Site.

         70.   Chemours      continues      to   manufacture       a    variety      of

 fluorochemicals and finished products at Chambers Works.                        Among

 other things, Chemours uses a PFAS replacement chemical, GenX, to

 manufacture Krytox™ greases and lubricating oils.

           HISTORY OF INVESTIGATION, REGULATION AND REMEDIATION

         71.   Historical manufacturing processes and waste disposal

 practices at Chambers Works caused significant soil, sediment, and

 groundwater contamination at the Site, which continues to plague

 the Site today.

         72.   From 1917 through the 1980s, process waste generated at

 Chambers Works was disposed of through a series of open ditches,

 some of which were unlined.

         73.   Production buildings had trenches and/or sumps that

 collected wastewater. Wastewater then flowed into a drainage ditch


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 adjacent      to    the    buildings,   where     it     would   be    combined   with

 wastewater from other buildings.

         74.    Most wastewater then continued through a network of

 ditches into a settling basin, which ultimately discharged to the

 Delaware River.            Some buildings at the exterior of the Site,

 however, discharged directly to the Delaware River and the Salem

 Canal.       There were up to 15 historical outfalls along the Delaware

 River and Salem Canal that may have conveyed process wastewater

 directly off-site.          This practice largely remained unchanged until

 1958.

         75.    Improvements were made to this system incrementally over

 time, including the construction of a wastewater treatment plant

 (“WWTP”) and the eventual addition of an overhead sewer system in

 1991.     Once the overhead sewer system was in place, all process

 wastewater was conveyed to the WWTP.

         76.    DuPont’s historical practices have caused contamination.

 Sludge samples collected from ditches between the late 1980s and

 early 1990s contained high concentrations of chlorobenzene (up to

 30,000 parts per million (“ppm”)), 1,2-dichlorobenzene (up to

 65,000 ppm), and lead (up to 176,000 ppm).

         77.    Groundwater contamination was first identified at the

 site    in    the    1960s.      In   1967,     DuPont    installed      and   sampled

 groundwater         monitoring    wells,      which      samples      indicated   that

 contamination        had    occurred    in      the    shallow     glacial     aquifer


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 underlying and adjacent to the Site, and that two unlined landfills

 were contributors to the contamination.

         78.   As   a    result      of   the    identification      of   groundwater

 contamination,         in   1971,    DuPont     installed    an    interceptor   well

 system (“IWS”) along the north and east boundaries of the Site.

         79.   Additionally, in 1975, DuPont constructed the WWTP,

 which would begin operating two years later.

         80.   In 1984, DuPont and the Department reached an agreement

 on terms for an Administrative Consent Order (“ACO”).                       The ACO

 recited that “DuPont has been and is discharging pollutants into

 unlined ditches and lagoons, from which pollutants may flow into

 the groundwaters of the State, in violation of the Water Pollution

 Control Act.”          The ACO required DuPont to line or eliminate all

 unlined ditches at the Site, and to close its unlined basins.                     The

 ACO further required DuPont to continue pumping, through the IWS,

 1.5 million gallons of groundwater.

         81.   In 1988, permit No. NJD002385730 was issued for the Site

 pursuant to the         Hazardous and Solid Waste Amendments (“HSWA”) of

 1984.

         82.   As a result of the issuance of the HSWA permit, in

 February      1988,    the   ACO     was   amended   to     make   the   remediation

 timeframes consistent with the HSWA permit, and also to require

 closure of an additional basin.




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         83.   In November 1988, the Department issued a New Jersey

 Pollutant Discharge Elimination System (“NJPDES”) Discharge to

 Groundwater (“NJPDES-DGW”) permit for Chambers Works (NJPDES-DGW

 permit no. NJ0083429).             The permit required implementation of a

 groundwater quality monitoring program, and continuation of the

 IWS as well as other groundwater recovery programs.

         84.   There    have        been   four    phases      of     the     Resources

 Conservation and Recovery Act (“RCRA”) Facility Investigation

 (“RFI”) at the Site.          Initially, 55 Solid Waste Management Units

 (“SWMUs”)       were   identified,        and    eventually    that        number     was

 increased to 96 SWMUs.

         85.   DuPont has identified Areas of Concern (“AOCs”) at the

 Site.    In a 2006 Preliminary Assessment Report, DuPont identified

 11 AOCs based on the potential for process-related contaminants to

 have entered the environment, including the fluoroproducts area,

 the TEL area, and the aramids area.

         86.   Chemours,       in     a    2017   Preliminary        Assessment/Site

 Investigation, added 11 more AOCs, raising the total to 22.

 Additional AOCs include the Delaware River AOC, Salem Canal AOC,

 Carneys Pont AOC, and C Landfill (SWMU 13) AOC.

         87.   As a result of multiple years of investigation at the

 Site,     the    injury       to     natural     resources,        including        soil,

 groundwater, surface water, and sediments is well-documented.




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 Results of those investigations include, but are not limited to,

 the below.

                              Soils Contamination

       88.    Over   75   contaminants       were   detected      in    soil   samples

 collected between September 2001 and October 2004.                      At least 60

 different contaminants were detected in samples collected in the

 former Carneys Point Works area and evaluated in a Baseline

 Ecological     Evaluation     (“BEE”)       by   DuPont    in    2006.        Of   the

 contaminants     detected,     16    were    identified     as   Contaminants      of

 Potential      Ecological      Concern       (“COPECs”).              Investigations

 associated with the RFI process identified 13 Contaminants of

 Potential Concern (“COPCs”) in soil at the Carneys Point Works and

 Chambers Works manufacturing areas.              Samples collected as part of

 the investigations exceeded applicable New Jersey soil remediation

 standards at 54, 173, 129, and 19 locations for VOCs, SVOCs,

 metals, and pesticides, respectively.               Between the BEE and RCRA

 Facility Investigation, 22 contaminants were identified as either

 COPECs or COPCs: 1,2 dichlorobenzene, 2,4-DNT, 2,6-DNT, aniline,

 antimony,     arsenic,     benzene,     bis(2-ethylhexyl)phthalate,             butyl

 benzyl       phthalate,          chlorobenzene,            chromium,          copper,

 hexachlorobenzene,       lead,      mercury,     nickel,    nitrocellulose,        N-

 nitrosodiphenylamine, PAHs, selenium, silver, and zinc.

                          Groundwater Contamination




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         89.   Groundwater samples collected between 1999 and 2016

 contained approximately 125 different contaminants. Approximately

 100 VOCs and SVOCs have been identified as exceeding New Jersey

 Groundwater Quality Standards for Class II-A Waters in the Chambers

 Works manufacturing area and the exceedances are widespread.                      In

 addition, exceedances of groundwater quality standards for metals,

 including aluminum, antimony, arsenic, beryllium, chromium, iron,

 lead,     manganese,     and    mercury,      were   widespread      across       the

 manufacturing area, and there were also exceedances of pesticides

 and total PCBs.

         90.   Some contaminants exceeded groundwater quality standards

 by many orders of magnitude.            In the B Aquifer, some VOC and SVOC

 exceedances were more than 100,000 times the groundwater quality

 standard.

         91.   In the former Carneys Point Works area, the primary

 impacts to groundwater are from metals, including arsenic and lead,

 and PAHs.      In total, the RFI report identified 47 contaminants as

 COPCs.

         92.   After the discovery of a magenta-colored seep in Salem

 Canal    in   2002,   investigations      identified     a   groundwater      plume

 originating      where    azo    dyes     were    once   made.       Groundwater

 characterizations identified the width of that plume along the

 canal to be approximately 900 feet.              The plume, in the B Aquifer,

 extends 300 feet south beyond the Salem Canal.                   Investigations


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 leading     up    to   the   DuPont    interim    remedial    action      work   plan

 identified 12 different chemicals as COPCs in the groundwater

 including:         chlorobenzene,        dichlorobenzenes,           aniline,      4-

 chloroaniline,         n-nitrosodiphenylamine,           benzene,     o-toluidine,

 chloroform, tetrachloroethene, trichloroethene, benzidrine, and

 nitrobenzene.

       93.      Groundwater under the entire Site has been designated as

 a classification exception area (“CEA”) due to the contamination

 exceeding        groundwater       quality    standards    and      the   need    for

 remediation to protect human health and the environment.                      The CEA

 suspends the designated uses of the groundwater (potable Class IIA

 Quaternary       Aquifer     and   Potomac-Raritan-Magothy          Aquifer    System

 beneath the Site).

                   Surface Water and Sediment Contamination

       94.      As reported in the BEE with respect to surface waters

 and sediments in the former Carneys Point Works area, in 34

 sediment samples there were detections of 30 SVOCs, 23 metals, and

 total petroleum hydrocarbons (“TPH”).              Of those, 16 SVOCs and nine

 metals    exceeded      ecological     benchmarks.        DuPont     identified    16

 COPECs    in     sediment    including       2,4-DNT,    2,6-DNT,    acenaphthene,

 arsenic,       benzo(b)fluoranthene,          cadmium,     chromium,      chrysene,

 copper, lead, mercury, naphthalene, n-dioctyl phthalate, nickel,

 N-nitrosodiphenylamine, phenanthrene, pyrene, silver, zinc.                        In

 the eight surface water samples considered, one SVOC, bis(2-


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 ethylhexyl)phthalate,             and     17    metals     were       detected.        Of   the

 contaminants         detected,       bis(2-ethylhexyl)phthalate,                    lead,   and

 mercury exceeded ecological or surface water benchmarks.

         95.   Following the appearance of the magenta-colored seep in

 Salem Canal in 2002, sampling of the discolored water from the

 seep was collected and contained six SVOC compounds exceeding

 ecological benchmarks for aquatic life (1,2-dichlorobenzene, 1,4-

 dichlorobenzene,            aniline,      4-chloroaniline,            diphenylamine,        and

 naphthalene)         and    two     VOC   compounds        that    exceeded         ecological

 benchmarks for aquatic life (chlorobenzene and xylene).                                Further

 investigations after discovery of the seep identified 11 COPCs in

 surface water and sediment in the Salem Canal.                                These include

 chlorobenzene,         dichlorobenzenes,              aniline,     4-chloroaniline,         n-

 nitrosodiphenylamine,             benzene,           o-toluidine,       trichlorobenzene,

 PAHs, 1-naphthylamine, and diphenylamine.                         In total, at least 38

 contaminants         have    been    detected         in   Salem      Canal    above    either

 ecological or other sediment quality benchmarks.

         96.   The limited sampling conducted in the Delaware River has

 resulted in detection of numerous VOCs, SVOCs, PAHs, metals, and

 total     PCBs   exceeding          ecological         benchmarks.            The    following

 contaminants exceeded refined sediment quality standards intended

 to    provide    a    representative            assessment       of    potential       impacts

 (equivalent          to      COPCs):           benzene,      chlorobenzene,             1,2,4-

 trichlorobenzene, and vinyl chloride.                      Twelve VOCs and 13 metals


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 were detected in 35 Delaware River surface water samples collected

 near the Chambers Works manufacturing area.                  Concentrations of

 1,4-dichlorobenzene, total aluminum, dissolved beryllium, total

 iron, dissolved lead, and total manganese exceeded surface water

 quality criteria.         Eight metals were detected in surface water

 samples collected near Carneys Point. Total aluminum and total

 iron exceeded surface water quality criteria.

                               PFAS COMPOUNDS & GENX

       97.   PFAS    are   a    family    of    chemical   compounds   containing

 fluorine and carbon atoms.              PFAS have been used for decades to

 produce household and commercial products that are heat resistant,

 stain resistant, long lasting, and water and oil repellant.                       The

 PFAS family of chemicals is entirely manmade and does not occur in

 nature.     PFOA and perfluorooctanesulfonic acid (“PFOS”) are the

 most widely studied PFAS chemicals, and have been shown to be toxic

 at very low concentrations.

       98.   PFOA and PFOS have characteristics that cause extensive

 and persistent environmental contamination.                 Specifically, they

 are mobile and persistent.              They are mobile in that they are

 soluble and do not adsorb (stick) to soil particles, and they are

 readily transported through the soil and into groundwater where

 they can migrate long distances.               And they are persistent in that

 they do not readily biodegrade or chemically degrade in the

 environment or in conventional treatment systems for drinking


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 water.    In short, once PFAS are applied, discharged, disposed of,

 or otherwise released onto land or into the air or water, those

 compounds migrate through the environment and into groundwater,

 resist natural degradation, and are difficult and costly to remove.

       99.      PFOA and PFOS bioaccumulate, biopersist, and biomagnify

 in people and other organisms.

       100. Exposure to PFAS in both humans and animals has been

 linked    to    several   diseases,     including     kidney    and   testicular

 cancer, thyroid disease, ulcerative colitis, high cholesterol,

 pregnancy-induced hypertension, and low birth weight.

       101. PFOA and PFOS contamination presents a serious threat to

 public health through drinking water.             Humans can also be exposed

 through contaminated food, inhalation, and dermal contact.

       102. PFOA and PFOS enter the environment from industrial

 facilities that manufacture PFOA or PFOS, or that use PFOA or PFOS,

 or products that degrade to PFOA or PFOS in the manufacture or

 production of other products.            Releases to land, air, and water

 from a multitude of industrial sites are known pathways to the

 environment.       PFOA and PFOS may also enter the environment when

 released from PFOA- or PFOS-containing consumer and commercial

 products during their use and disposal.

       103. Beginning in 2013, DuPont replaced its production and

 use of PFOA with GenX chemicals.             GenX is the tradename for the

 chemicals, including hexafluoropropylene oxide dimer acid (HFPO-


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 DA), that allow for the creation of fluoropolymers without PFOA.

 While DuPont in a 2010 marketing brochure touted GenX as having “a

 favorable toxicological profile,” studies have shown that exposure

 to GenX has negative health effects, suggestive of cancer, on the

 kidney, blood, immune system, developing fetuses, and especially

 in the liver following oral exposure. Further, like PFOA and other

 PFAS compounds, GenX is persistent in the environment, not readily

 biodegradable, and mobile in the presence of water.                        DuPont

 acknowledged in the same brochure referenced above that GenX “is

 chemically     stable    and,   if   released,    would    be   environmentally

 persistent.”       EPA is currently in the process of publishing a

 toxicity assessment for GenX.

        104. In 2017, NJDEP accepted the New Jersey Drinking Water

 Institute’s recommended health-based maximum contaminant level

 (“MCL”) for drinking water of 14 ng/L or parts per trillion (“ppt”)

 of PFOA, and updated its drinking water guidance value for PFOA to

 this level. The previous preliminary drinking water guidance level

 for PFOA issued by NJDEP in 2007 was 40 ppt.                In September 2018,

 NJDEP also established an MCL of 13 ppt for PFNA.                  On March 13,

 2019, the Department established interim specific groundwater

 quality criteria for PFOA of 10 ppt.             In addition, the Department

 has proposed rules establishing MCLs for PFOA of 14 ppt and for

 PFOS    of   13   ppt;    establishing       groundwater     quality     criteria




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 standards for PFOA of 14 ppt and PFOS of 13 ppt; and adding PFOA

 and PFOS to the Spill Act’s List of Hazardous Substances.

                   DUPONT’S USE AND MANUFACTURE OF PFAS

       105. Beginning in 1951, DuPont began purchasing PFOA from 3M

 for use in the manufacturing process for its name-brand product

 Teflon®, commonly known for its use as a coating for non-stick

 cookware.    DuPont has also used PFAS in other name-brand products

 such as Stainmaster®.

       106. 3M phased out production of PFOA in 2002.                As explained

 below, although DuPont was fully aware that PFOA was a dangerous

 and toxic chemical, it began producing its own PFOA for use in its

 manufacturing processes, including those at Chambers Works.

           3M COMPANY’S MANUFACTURE AND DISTRIBUTION OF PFAS

       107. Though      the    PFAS    family     of    chemicals      was    first

 accidentally discovered by a DuPont scientist in 1938, for most of

 the past several decades, 3M has been the primary manufacturer of

 PFOA and PFOS.

       108. 3M began producing PFOA and PFOS as raw materials that

 they used to produce other products, or that they sold to third

 parties for use in other products.             3M produced PFOA and PFOS by

 electrochemical fluorination in the 1940s.               This process results

 in a product that contains and/or breaks down into compounds

 containing PFOA and/or PFOS. 3M went on to market PFAS and products

 containing PFAS, and it shipped PFOA and PFOS to manufacturers all


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 over    the    country,   including    to    DuPont,   which     used   PFOA      and

 discharged it from Chambers Works and other facilities.

               DUPONT AND 3M’s KNOWLEDGE OF THE DANGERS OF PFAS

         109. By 1956, 3M’s PFAS were found to bind to proteins in

 human blood, resulting in bioaccumulation of those compounds in

 the human body.

         110. 3M knew as early as 1960 that chemical wastes from its

 PFAS manufacturing facilities that were dumped to landfills could

 leach into groundwater and otherwise enter the environment.                        An

 internal memo from 1960 described 3M’s understanding that such

 wastes “[would] eventually reach the water table and pollute

 domestic wells.”

         111. DuPont company scientists issued internal warnings about

 the toxicity associated with their PFOA products as early as 1961,

 including that PFOA caused adverse liver reactions in rats and

 dogs.    DuPont’s Toxicology Section Chief opined that such products

 should be “handled with extreme care,” and that contact with the

 skin should be “strictly avoided.”

         112. As early as 1963, 3M was aware that its PFAS products

 were    stable     in   the   environment    and   would   not   degrade     after

 disposal.

         113. By the 1970s, 3M had become concerned about exposure to

 fluorochemicals in the general population.




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         114. By at least 1970, 3M was aware that its PFAS products

 were hazardous to marine life.            One study of 3M fluorochemicals

 around    this    time   had   to   be   abandoned    to   avoid   severe     local

 pollution of nearby surface waters.

         115. In 1975, 3M found there was a “universal presence” of

 PFOA in blood serum samples taken from across the United States.

 Since PFOA is not naturally occurring, this finding reasonably

 should have alerted 3M to the likelihood that its products were a

 source of this PFOA—a possibility that 3M considered internally

 but did not share outside the company.               This finding also should

 have alerted 3M to the likelihood that PFOA is mobile, persistent,

 bioaccumulative, and biomagnifying, as those characteristics would

 explain the absorption of PFOA in blood from 3M’s products.

         116. As early as 1976, 3M began monitoring the blood of its

 employees for PFAS because the company was concerned about PFAS’

 health effects.

         117. Other studies by 3M in 1978 showed that PFOA and PFOS

 are toxic to monkeys.          In one study in 1978, all monkeys died

 within the first few days of being given food contaminated with

 PFOS.    DuPont was aware of 3M’s findings no later than 1981.

         118. Also in 1978, based on information it received from 3M

 about elevated and persistent fluoride levels in workers exposed

 to PFOA, DuPont initiated a plan to review and monitor the health

 conditions       of   potentially-exposed     workers      in   order   to   assess


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 whether any negative health effects could be attributed to PFOA

 exposure.         This monitoring plan involved obtaining blood samples

 from the workers and analyzing them for the presence of fluorine.

 (As noted above, PFAS contain carbon and fluorine, and human

 exposure to these chemicals therefore has been linked to elevated

 organic fluorine levels.)

         119. In the late 1970s, 3M studied the fate and transport

 characteristics of PFOS in the environment, including in surface

 water and biota. A 1979 report drew a direct line between effluent

 from       3M’s      Decatur,     Alabama       plant      and     fluorochemicals

 bioaccumulating in fish tissue taken from the Tennessee River.

         120. According to a 3M environmental specialist who resigned

 his     position      due    to   the    company's        inaction    over     PFOS's

 environmental        impacts,     3M    had    resisted    calls     from    its    own

 ecotoxicologists going back to 1979 to perform an ecological risk

 assessment on PFOS and similar chemicals.                    At the time of the

 specialist's resignation in 1999, that resistance had not ceased.

         121. By 1979, DuPont had data indicating that its workers

 exposed to PFOA had a significantly higher incidence of health

 issues than did unexposed workers.                DuPont did not report this

 data or the results of its worker health analysis to any government

 agency or community at this time.




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         122. The following year, DuPont internally confirmed that

 PFOA “is toxic,” that humans accumulate PFOA in their tissue, and

 that “continued exposure is not tolerable.”

         123. Not only did DuPont know that PFOA accumulated in humans,

 but it was also aware that PFOA could cross the placenta from an

 exposed mother to her gestational child. In 1981, DuPont conducted

 a blood sampling study of pregnant or recently pregnant employees.

 Of the eight women in the study who worked with fluoropolymers,

 two—or 25 percent—had children with birth defects in their eyes or

 face, and at least one had PFOA in the umbilical cord.

         124. In fact, DuPont had reported to EPA in March 1982 that

 results from a rat study showed PFOA crossing the placenta if

 present in maternal blood, but DuPont concealed the results of the

 study of its own plant workers.

         125. While DuPont knew about this toxicity danger as early as

 the     1960s,    DuPont    also   was   aware    that    PFAS     was   capable    of

 contaminating        the   surrounding      environment      and    causing    human

 exposure.

         126. By late 1981, DuPont also knew that PFOA could be emitted

 into the air from its facilities, and that those air emissions

 could travel beyond the facility boundaries.

         127. Further, no later than 1984, DuPont was aware that PFOA

 is biopersistent.




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         128. Similarly, in 1983, 3M scientists opined that concerns

 about     PFAS    “give     rise    to    legitimate        questions    about     the

 persistence,        accumulation         potential,         and   ecotoxicity      of

 fluorochemicals in the environment.”              That same year, 3M worked to

 change the wording in studies by a Dr. Gilliland, who around that

 time    published    a    paper    demonstrating        a   3.3-fold    increase   in

 mortality rates for workers employed in jobs that exposed them to

 PFOA.

         129. DuPont was long aware that the PFAS it was releasing

 from its facilities was leaching into groundwater used for public

 drinking water.          After obtaining data on these releases and the

 consequent contamination near DuPont’s plant in West Virginia,

 DuPont, in 1984, held a meeting at its corporate headquarters in

 Wilmington, Delaware, to discuss health and environmental issues

 related to PFOA (the “1984 Meeting”).                       DuPont employees who

 attended the 1984 Meeting discussed available technologies that

 were capable of controlling and reducing PFOA releases from its

 manufacturing       facilities,      as    well    as       potential   replacement

 materials.       DuPont chose not to use either available technologies

 or replacement materials, despite knowing of PFOA’s toxicity.

         130. During the 1984 Meeting, DuPont employees in attendance

 spoke of the PFOA issue as “one of corporate image, and corporate

 liability.” They were resigned to DuPont’s “incremental liability

 from this point on if we do nothing” because DuPont was “already


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 liable for the past 32 years of operation.”                  They also stated that

 the “legal and medical [departments within DuPont] will likely

 take the position of total elimination” of PFOA use in DuPont’s

 business, and that these departments had “no incentive to take any

 other position.”

         131. Also in 1984, 3M’s internal analyses demonstrated that

 that      fluorochemicals          were      likely    bioaccumulating        in    3M

 fluorochemical employees.

         132. Despite its understanding of the hazards associated with

 its     PFOA    and     PFOS    products,    3M   actively     sought   to   suppress

 scientific research on the hazards associated with them, and

 mounted a campaign to control the scientific dialogue on the

 exposure, analytical, fate, effects, human health, and ecological

 risks of its PFOA and PFOS products. At least one scientist funded

 by 3M saw his goal as “keep[ing] ‘bad’ papers [regarding PFAS] out

 of     the   literature”        because     “in   litigation    situations”     those

 articles “can be a large obstacle to refute.”

         133. In response to pressure from EPA, 3M began to phase out

 production of PFOS and PFOA products in 2000.                  On May 16, 2000, 3M

 issued a news release falsely asserting that “our products are

 safe,”         citing     the     company’s       “principles     of    responsible

 environmental management” as the reason to cease production.                        On

 the same day as 3M’s phase out announcement, an EPA internal email

 stated: “3M data supplied to EPA indicated that these chemicals


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 are very persistent in the environment, have a strong tendency to

 accumulate in human and animal tissues and could potentially pose

 a risk to human health and the environment over the long term.”

 The     author     further     stated     that   PFOS     “appears     to    combine

 Persistence,        Bioaccumulation,       and    Toxicity       property    to     an

 extraordinary degree.”

         134. DuPont’s        own    Epidemiology        Review    Board      (“ERB”)

 repeatedly raised concerns about DuPont’s statements to the public

 that there were no adverse health effects associated with human

 exposure to PFOA. For example, in February 2006, the ERB “strongly

 advise[d] against any public statements asserting that PFOA does

 not pose any risk to health” and questioned “the evidential basis

 of [DuPont’s] public expression asserting, with what appears to be

 great confidence, that PFOA does not pose a risk to health.”

         135. In 2004, EPA filed an action against DuPont based on its

 failure to disclose toxicity and exposure information for PFOA, in

 violation of the Toxic Substances Control Act and RCRA.                      DuPont

 eventually settled the action by agreeing to pay over $16 million

 in civil administrative penalties and supplemental environmental

 projects.          EPA    called    the    settlement      the    “largest     civil

 administrative penalty EPA has ever obtained under any federal

 environmental statute.”

         136. DuPont and 3M knew or should have known that in their

 intended and/or common use, products containing PFAS would very


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 likely injure and/or threaten public health and the environment.

 This knowledge was accessible to DuPont and 3M, but not fully to

 Plaintiffs.

 DuPont’s Use and Discharge of PFOA from Chambers Works

       137. Beginning in the late 1950s, DuPont used PFOA in its

 manufacturing processes at Chambers Works, created PFOA as a by-

 product in other processes, and discharged PFOA from its wastewater

 treatment plant.       As a result of all these and other activities,

 massive amounts of PFOA have been discharged at Chambers Works.

       138. DuPont used PFOA to manufacture fluoroelastomers at

 Chambers Works starting in the late 1950s.                Production included

 standard    fluoroelastomers,          perfluoroelastomers,      and   specialty

 fluoroelastomers.             DuPont     used      PFOA   to    make     standard

 fluoroelastomers until 2001, and perfluoroelastomers and specialty

 fluoroelastomers until 2013.

       139. PFOA is also a by-product of DuPont’s fluorotelomer

 manufacturing       process       at    Chambers     Works.       Fluorotelomer

 manufacture at Chambers Works started in the early 1960s, and

 chemicals that could break down into PFOA were used until 2014.

       140. The     WWTP    also    received     on-site    process     wastewater

 streams, landfill leachate and groundwater from the IWS, all of

 which contained PFOA.




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         141. Additionally, the WWTP received wastewater streams from

 other DuPont facilities as well as other commercial wastewater

 streams, which contained PFOA streams in the parts per million.

         142. Significantly, DuPont transferred PFOA-containing waste

 generated     at   Washington     Works    to   Chambers    Works,    which       was

 discharged through the WWTP or landfilled on-site.

         143. DuPont did not install a carbon treatment system, which

 could assist with treatment of PFAS, at its WWTP until 2004.

         144. DuPont accepted commercial waste streams that contained

 PFOA and other PFAS until 2012.

         145. As a result of the above activities, PFOA was discharged

 into surface water from the WWTP and emitted into air from stacks

 and vents, and leached to groundwater from PFOA-contaminated soils

 and/or onsite landfills with contaminated waste.

         146. The   scope    of    DuPont’s      PFOA-related     activities        at

 Chambers Works is demonstrated by its own estimates for the year

 1999.    For that year alone, DuPont estimates it transferred 13,400

 pounds of PFOA-containing waste from Washington Works to Chambers

 Works; released at least 25,500 pounds of PFOA into water; dumped

 at least 8,000 pounds of PFOA-containing waste into landfills on-

 site; and emitted 300 pounds of PFOA-related chemicals into air.




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 DuPont’s Efforts to Conceal and Downplay PFOA Contamination at and
 around Chambers Works

        147. DuPont engaged in a long-running campaign in New Jersey

 to conceal and downplay PFOA contamination at and around Chambers

 Works, and the effects that this contamination would have on human

 health and the environment.             Among other things, DuPont compared

 sampling     results     to    inflated    screening       levels,     attacked    New

 Jersey’s efforts to establish more protective levels, and refused

 to acknowledge there was a contamination problem until it was

 forced to concede the issue.

        148. In    2003,       DuPont    made    one   of   its    first   meaningful

 disclosures about its PFOA-related activities at Chambers Works,

 in    a    report     titled      DuPont        Telomer    Manufacturing        Sites:

 Environmental Assessment of PFOA Levels in Air and Water.                       In the

 report, DuPont was supposed to give its assessment of the impact

 of its telomer manufacturing operations at Chambers Works.

        149. Critically, DuPont sought to compare the results of the

 assessment to screening levels recently released by the “C-8 [PFOA]

 Assessment of Toxicity Team” (“CATT”).                These levels were inflated

 by DuPont’s own design.          CATT was created through DuPont’s Consent

 Order with West Virginia.               The team, which included a DuPont

 representative,        was     tasked    with     assessing      the   health    risks

 associated with releases of PFOA from Washington Works.




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       150. In 1991, DuPont had established an internal Community

 Exposure Guideline (“CEG”) of 1 part per billion (“ppb”) (1,000

 ppt) for PFOA in community drinking water.                   DuPont sought to

 influence CATT to set screening levels significantly higher than

 its own CEG, which it could then present as proof that its releases

 posed no health risks.           In 2002, CATT issued an “aquatic life

 advisory concentration” of 1,360 ppb (1,360,000 ppt).                  CATT also

 issued a “human health protective screening criteria” of 150 ppb

 (150,000 ppt), which was 150 times higher than DuPont’s prior,

 internal standard.

       151. In DuPont’s 2003 report on Chambers Works, it disclosed

 that PFOA was present in groundwater throughout the Site and at

 the perimeter, up to 46.6 ppb (46,000 ppt).              DuPont characterized

 these results as showing “very low levels” and that “PFOA is being

 contained on-site by the site groundwater containment system.”

 DuPont also dismissed the significance of the results, asserting

 that because “[g]roundwater in the vicinity of Chambers Works is

 not removed from the ground for drinking water or other use,” the

 1,360 ppb (1,360,000 ppt) screening level should be applied.

       152. DuPont further reported that it was discharging PFOA

 into the Delaware River at an average concentration of 133 ppb

 (133,000 ppt).      Samples from the Delaware River (downstream of the

 facility) were as high as 0.556 ppb (556 ppt), and from the Salem

 Canal were 0.089 ppb (89 ppt). According to DuPont, however, these


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 results were not concerning because they were “well below” CATT-

 established levels.

         153. DuPont concluded its report by saying its operations at

 Chambers Works were “not a significant source of PFOA to the

 environment.”

         154. Following submission of the Telomer Manufacturing Sites

 report, DuPont continued to urge use of CATT screening levels in

 New Jersey.       In or about January 2004, DuPont made a presentation

 to Department personnel about the CATT levels.                It reiterated that

 “[a]ll” of its Chambers Works environmental assessment results

 were “[w]ell [b]elow [s]creening [c]riteria.”

         155. In March 2005, the Department directed DuPont to assess

 areas of Chambers Works where PFOA was used and may have caused

 contamination,        and,     in    October    2005,    DuPont     provided        its

 preliminary assessment and proposal for sampling (“2005 PAR”).

         156. DuPont sought in the 2005 PAR to sample limited areas.

 DuPont further stated that “[a]ir emissions from [PFOA-related]

 manufacturing processes were minimal,” and that “contribution from

 air      emissions      to    soil    or    groundwater       impact     would      be

 insignificant.”

         157. Results of sampling done pursuant to the 2005 PAR were

 provided to the Department in October 2006 in a Site Investigation

 Report (“SIR”).        PFOA was present in the areas investigated on the

 site in soil up to 0.990 ppm (990,000 ppt), and in groundwater up


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 to 1,050 ppb (1,050,000 ppt). Nevertheless, DuPont concluded there

 was     “limited      potential         for   [PFOA]        exposure       to     soil    and

 groundwater.”

         158. DuPont did not propose remedial action.                            In fact, it

 prefaced the SIR’s results by stating “[t]o date, there are no

 human health effects known to be caused by PFOA,” and that it

 believed “the weight of scientific evidence indicates that PFOA

 exposure does not pose a health risk to the general public.”

 DuPont      knew   from    its    own    internal      studies       and    environmental

 assessments that this was false.

         159. Also during this time, PFOA was detected in public water

 supplies near Chambers Works.                      In February 2006, DuPont took

 samples from the Pennsgrove Water Supply Company’s wells, which

 supply drinking water to households in Penns Grove and Carneys

 Point. DuPont provided these results in a letter to the Department

 in May 2006.        PFOA was detected in the wells up to 190 ppt.

         160. In its letter, DuPont stated that “[t]he results reflect

 PFOA levels far below any established regulatory guidance for

 drinking      water,”      and    that    the       water    must,     “therefore,”        be

 considered “safe for human consumption.”

         161. DuPont,       in    its    letter,      dismissed       the    relevance      of

 litigations seeking treatment for drinking water exceeding 50 ppt.

 DuPont stated “that number is neither a public health standard nor

 a     threshold      for    obtaining         compensation.”               Despite       these


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 statements, mere months later, in November 2006, EPA would issue

 a   Consent    Order     relating      to     the     Washington      Works   facility

 determining      PFOA    may     present         an   imminent       and   substantial

 endangerment to human health at or above 50 ppt, and memorializing

 DuPont’s    obligation      to      provide      sufficient      treatment     to     the

 drinking water of residents of West Virginia and Ohio living around

 Washington Works to ensure that this 50 ppt level is met.

       162. In    2007,    the       Department        issued   its    drinking      water

 guidance level for PFOA of 40 ppt.

       163. DuPont made every effort to see that New Jersey would

 not issue guidance at this level.

       164. As stated above, DuPont had previously dismissed any

 level of 50 ppt.        Now sensing that New Jersey would be issuing an

 advisory with a lower level, DuPont sought to use 50 ppt, from its

 prior Consent Order with EPA.

       165. However, the Department’s drinking water guidance level

 was being developed for lifetime exposure, while the Consent

 Order’s 50 ppt level was put in place for less-than-lifetime,

 subchronic exposure.

       166. In January 2007, DuPont submitted a memo from one of its

 scientists, Dr. Robert Rickard, to the Department for the purpose

 of attacking the advisory to be issued regarding drinking water

 guidance.       Among other things, Dr. Rickard’s memo stated the

 Department’s     issuance      of    an     advisory     below   50    ppt    would    be


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 “confusing” to the public.          He wrote:       “If a level lower than [50

 ppt] is set in New Jersey it could cause undue concern among the

 communities at or above that level in New Jersey and elsewhere and

 the [Department] . . . will have difficulty explaining this

 variation.”

       167. Dr.     Rickard     further        charged    that     “it    would     be

 irresponsible for New Jersey to set a lower level,” and that doing

 so “would undermine public expectations that government agencies

 charged    with    protecting       health    do    so   in   a   deliberate      and

 scientifically sound manner.”

       168. Dr. Rickard, on DuPont’s behalf, went even further. With

 respect to setting a level below 50 ppt, which he characterized as

 “totally    unjustified,”      he    seemed    to   threaten      the   Department:

 “Based on the extensive scientific studies done by the government,

 research institutions and industry suggesting no human health

 effects at background levels, DuPont could not let a scientifically

 unsupported level go unchallenged.”

       169. DuPont’s efforts, and its thinly veiled threat, failed,

 but it would resist taking remedial action based on the drinking

 water advisory.

       170. In February 2007, the Department directed DuPont to

 undertake further groundwater sampling on and off-site, and to

 delineate its results at the drinking water guidance value.




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       171. DuPont,       in    a   cover     letter     to    its    groundwater

 investigation work plan of May 2007, objected to delineation based

 on the guidance value, contending it was “inconsistent with other

 established health based standards,” did “not incorporate the most

 recent available science,” and did not “necessitate or warrant a

 remedial investigation.”

       172. Groundwater investigations conducted shortly thereafter

 revealed off-site contamination.              In 2008, DuPont submitted a

 report showing that PFOA was detected in eight of nine monitoring

 wells that were sampled, at a distance of up to 2,000 feet from

 the Site’s border.       PFOA was detected at 2.2 ppb (2,200 ppt) in a

 well at the border, and up to 1.4 ppb (1,400 ppt) in an off-site

 monitoring well.

       173. Even       presented      with      data     showing      significant

 contamination of residential drinking water wells around Chambers

 Works, DuPont still clung to the highest advisory levels possible.

 In 2009, DuPont sampled wells within a two-mile radius of Chambers

 Works for PFOA.       However, DuPont refused to use the Department’s

 drinking water guidance value as the threshold for providing

 treatment.      It would only compare the results to EPA’s 2009

 provisional advisory, which was 400 ppt.                  Use of this higher

 criterion resulted in only a single well qualifying for treatment.




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        174. Today, however, DuPont is no longer in a position to

 deny that PFOA and other PFAS contamination poses a risk to the

 surrounding environment and human population.

 PFOA and PFAS Contamination at and around Chambers Works

        175. PFOA and other PFAS contaminate Chambers Works and the

 surrounding area, though the full extent of this contamination

 remains to be determined.

        176. With    respect     to   the    Site    itself   and    the   immediate

 surrounding     area,    sampling     and       monitoring   have   shown    severe

 contamination of groundwater and soil, as well as surface waters

 and sediment.       Still, the effect of PFAS on the wetlands area, in

 the northern part of the Site, has not been as thoroughly analyzed

 for PFAS.

        177. As to off-site contamination, between 2016 and 2017,

 Chemours re-sampled residential drinking water wells within the

 two-mile radius of Chambers Works.                 This time, Chemours sampled

 for 14 PFAS including PFOA, PFNA and PFOS. Other PFAS including

 PFNA   are   also    released    from      Chambers    Works   as    a    result   of

 operations there.

        178. For purposes of this re-sampling, PFOA was compared to

 the Department’s drinking water guidance level of 40 ppt; PFNA to

 the Department’s specific groundwater quality standard of 10 ppt;

 and PFOA and PFOS combined to EPA’s 2016 lifetime health advisory

 for the sum of the chemicals of 70 ppt.                Use of these levels (as


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 opposed to that insisted by DuPont in its 2009 sampling program),

 resulted in almost half of the wells sampled (43 wells) exceeding

 the screening criteria.           And these criteria are substantially less

 stringent than the MCLs New Jersey has proposed, 14 ppt for PFOA

 and 13 ppt for PFOS, and the interim specific groundwater quality

 criteria of 10 ppt for PFOA and PFOS.

       179. Also,     as    part    of   the   2016-2017   program,    additional

 sampling was done outside the two-mile radius, up to 2.75 miles.

 Of those 64 wells sampled in these further areas, 21 wells exceeded

 the screening levels.

       180. Since     the    initial      2016-2017   program,     sampling        has

 continued to expanded areas, largely to the northeast of Chambers

 Works, up to five miles away.

       181. In total, 341 individual drinking water wells have been

 sampled; there are 168 (approximately half) that exceeded the

 following criteria:        14 ppt for PFOA, 13 ppt for PFNA, and 70 ppt

 for PFOA and PFOS combined together.

       182. The results of the sampling program, to date, do not

 provide a full understanding of the off-site contamination that

 operations at Chambers Works has caused.              For example, there has

 been less sampling of wells to the southeast of Chambers Works.

 Further still, there has been limited-to-no sampling, outside of

 drinking water wells, of natural resources in the area, including

 soil, surface water, wetlands, sediments, and biota.                 In addition


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 to the natural resources the State holds in trust, the State owns

 real property, within the five-mile radius of the Site, including

 the New Jersey Natural Land Trust Game Branch Preserve to the

 northeast of the Site, and the New Jersey Fish & Wildlife Salem

 River Wildlife Management Area to the southeast.

 DuPont’s and 3M’s Actual Malice / Wanton and Willful Disregard

       183. DuPont and 3M, as detailed above, committed acts and

 omissions with respect to PFOA and other PFAS with actual malice

 and/or    with   a   wanton    and   willful       disregard   of    persons      who

 foreseeably might be harmed by those acts or omissions.                          Such

 conduct was performed to promote sales of their products, or to

 reduce or eliminate expenses they would otherwise have incurred to

 remove PFAS from their waste streams, despite the impacts on the

 Site, the State, and its citizens relating to contamination of

 groundwater, surface water, and other natural resources.

       184. Therefore,       Plaintiffs       are    requesting      an   award     of

 punitive damages for DuPont’s and 3M’s especially egregious or

 outrageous conduct and to discourage them from engaging in similar

 misconduct in the future.         Plaintiffs request an award of punitive

 damages in an amount sufficient to punish these Defendants and

 that fairly reflects the aggravating circumstances alleged herein.




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 The Fraudulent Spinoff of DuPont’s Specialty Chemicals Business


         185.    DuPont and Chemours have substantial liabilities due to

 their polluting activities.                 DuPont’s and Chemours’ liabilities

 for PFOA and other PFAS contamination account for a substantial

 portion        of    their    environmental            liabilities      nationwide,       and

 therefore           affect     their        overall          ability    to satisfy their

 environmental liabilities for Chambers Works.

         186. DuPont      sought       to    insulate         itself    from    billions    of

 dollars of legacy pollution liabilities, especially those arising

 from PFOA and other PFAS contamination at chemical plants that it

 owned and operated throughout the country.

         187. Upon       information          and        belief,    DuPont’s       potential

 cumulative liability related to PFOA and other PFAS is likely

 billions       of    dollars    due    to        the    persistence,       mobility,    bio-

 accumulative          properties,          and     toxicity       of    these    “forever”

 compounds, as well as DuPont’s decades-long attempt to hide the

 dangers of PFAS from the public.

         188. For       more    than    five           decades,    DuPont      manufactured,

 produced, or utilized PFOA and other PFAS at plants in New Jersey,

 West Virginia, and North Carolina.                      As alleged above, throughout

 this time, DuPont was aware that PFOA was toxic, harmful to animals

 and      humans,       bio-accumulative,               and    bio-persistent       in     the

 environment.         DuPont also knew that it had emitted and discharged




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 PFOA and other PFAS in large quantities into the environment, and

 that   tens   of   thousands     of   people    had    been    exposed   to   PFOA,

 including through public and private drinking water supplies,

 which DuPont had contaminated.           Thus, DuPont knew, or reasonably

 should have known, that it faced billions of dollars in liabilities

 arising from its use of PFOA.

        189. For example, in 1999, members of the Tennant family, who

 owned property impacted by PFOA contamination adjacent to DuPont’s

 Washington Works plant in Parkersburg, West Virginia, sued DuPont

 in West Virginia federal court.

        190. DuPont’s     in-house     counsel    was    very    concerned     about

 DuPont’s exposure related to PFOA.                In November 2000, one of

 DuPont’s in-house counsel handling PFOA issues wrote to his co-

 counsel: “We are going to spend millions to defend these lawsuits

 and have the additional threat of punitive damages hanging over

 our head. Getting out in front and acting responsibly can undercut

 and reduce the potential for punitives . . .                  Our story is not a

 good one, we continued to increase our emissions into the river in

 spite of internal commitments to reduce or eliminate the release

 of this chemical into the community and the environment because of

 our concern about the biopersistence of this chemical.”

        191. In 2005, after confidentially settling the Tennant case,

 DuPont agreed to pay $10.25 million to resolve eight counts brought

 by EPA alleging violations of the Toxic Substances Control Act and


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 the Resource Conservation and Recovery Act.                    DuPont also was

 required to commit an additional $6.25 million to supplemental

 environmental                             projects.                                See

 https://www.epa.gov/enforcement/reference-news-release-epa-

 settles-pfoa-case-against-dupont-largest-environmental.

         192. Also, in 2005, DuPont agreed to settle a class action

 lawsuit, which had been filed on behalf of 70,000 residents of

 Ohio and West Virginia who had been exposed to PFOA that DuPont

 had discharged from Washington Works for $343 million.                     Under the

 terms    of   the   settlement,     DuPont    agreed    to    fund    a    panel   of

 scientists (the “Science Panel”) to determine if any diseases were

 linked to PFOA exposure, to filter local water for as long as PFOA

 concentrations exceeded regulatory thresholds, and to set aside

 $235    million     for   ongoing   medical    monitoring      of    the    affected

 community.      The settlement also provided that any class members

 who developed the linked diseases would be entitled to sue for

 personal injury, and DuPont agreed not to contest the fact that

 exposure to PFOA could cause those diseases.

         193. After eight years, the Science Panel found several human

 diseases with “probable links” to PFOA exposure, including: high

 cholesterol; ulcerative colitis; pregnancy-induced hypertension;

 thyroid disease; testicular cancer; and kidney cancer.

         194. More    than   3,500   personal     injury      claims   were     filed

 against DuPont in Ohio and West Virginia as part of the 2005


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 settlement.       These    claims    were    consolidated      in   the   federal

 multidistrict litigation styled In Re: E.I. du Pont de Nemours and

 Company C-8 Personal Injury Litigation (MDL No. 2433) in the United

 States District Court for the Southern District of Ohio.                     Forty

 “bellwether” trials were scheduled to take place in 2015 and 2016.

       195. DuPont knew that it faced substantial exposure at these

 trials, as well as liability related to PFOA and other PFAS

 contamination at other sites throughout the country, including

 Chambers Works, among others, and that its liability was likely

 billions of dollars.

       196. In addition to its PFOA and other PFAS liabilities,

 DuPont was facing very substantial environmental liabilities for

 its historic manufacturing and research operations throughout the

 country.

       197. DuPont sought to limit its environmental liability and

 protect its assets by engaging in a series of restructuring

 transactions, including a “spinoff” of its performance chemical

 business which included Teflon, i.e., one of the primary products

 that DuPont manufactured using PFOA and which led to widespread

 contamination throughout the country.

       198. Chemours was incorporated on February 18, 2014 under the

 name “Performance Operations, LLC.” On April 10, 2014, the company

 was renamed “The Chemours Company, LLC.”              On April 30, 2015, the

 company was converted from a limited liability company to a


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 corporation with the name “The Chemours Company.”                    Prior to July

 1, 2015, Chemours was a wholly-owned subsidiary of DuPont.

       199. On July 1, 2015, DuPont completed the spinoff of its

 performance     chemicals      business      (the   “Spinoff”)        through     the

 creation of Chemours, which became a separate, publicly-traded

 entity.

       200. DuPont     and    Chemours     entered    into      a    June    26,   2015

 Separation Agreement to effectuate the Spinoff (the “Separation

 Agreement”). At the time of the Spinoff, the performance chemicals

 business consisted of DuPont’s Titanium Technologies Chemical

 Solutions      and    Flourochemicals        segment      (collectively,          the

 “Performance Chemicals Business”).

       201. Pursuant to the Separation Agreement, DuPont agreed to

 transfer to Chemours all businesses and assets related to the

 Performance     Chemicals     Business,      including    37       active   chemical

 plants.     Upon information and belief, Chambers Works was one of

 the 37 sites referenced in the Separation Agreement and one or

 more schedules to that Agreement.

       202. Prior to the Spinoff, DuPont completed a significant

 internal reorganization so that all the assets and liabilities

 (held by DuPont or its subsidiaries) that DuPont deemed to be part

 of the Performance Chemicals Business would be held by Chemours,

 as a wholly owned subsidiary of DuPont.




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       203. In     addition    to     the   assets   transferred    to     Chemours,

 DuPont   caused    Chemours     to    assume    DuPont’s    massive      historical

 liabilities relating to DuPont’s Performance Chemicals Business,

 including those arising from its discharge of contaminants, such

 as PFOA and other PFAS, into the environment.                     While specific

 details about the liabilities are set forth in non-public schedules

 that are not available to Plaintiffs, the Separation Agreement

 required Chemours to assume what the agreement defines as “Chemours

 Liabilities,”       which    include        DuPont’s   historic       liabilities

 regardless of (i) when or where such liabilities arose, (ii)

 whether the facts upon which they are based occurred prior to, on,

 or subsequent to the effective date of the Spinoff, (iii) where or

 against whom such liabilities are asserted or determined, (iv)

 whether arising from or alleged to arise from negligence, gross

 negligence,        recklessness,           violation       of     law,       fraud,

 misrepresentation by DuPont or Chemours, or (v) which entity is

 named in any action associated with any liability.

       204. The Separation Agreement defines Chemours Liabilities

 broadly, to include “any and all Liabilities relating . . .

 primarily to, arising primarily out of or resulting primarily from,

 the operation or conduct of the Chemours Business, as conducted at

 any time prior to, at or after the Effective Date . . . including

 . . . any and all Chemours Assumed Environmental Liabilities. . .

 .,” which include DuPont’s historic liabilities relating to and


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 arising from its decades of emitting PFOA and PFAS along with other

 contaminants into the environment in New Jersey and elsewhere.

       205. Chemours also agreed to indemnify DuPont in connection

 with those liabilities that it assumed.                  The indemnification has

 no cap or temporal limitation.

       206. Chemours also agreed to use its best efforts to be fully

 substituted      for    DuPont    with    respect       to   “any   order,    decree,

 judgment, agreement or Action with respect to Chemours Assumed

 Environmental Liabilities . . . .”

       207. Upon information and belief, there was no meaningful

 negotiation      of    the   Separation     Agreement,        and   DuPont    largely

 dictated its terms.           Indeed, when the Separation Agreement was

 signed, Chemours was a wholly-owned subsidiary of DuPont, and a

 majority of the Chemours board consisted of DuPont employees.

       208. In connection with the Spinoff, Chemours paid DuPont

 approximately      $3.9      billion,    consisting      of   approximately      $3.4

 billion in cash, plus approximately $507 million in promissory

 notes. Chemours also transferred all of its stock to DuPont, which

 was ultimately delivered to DuPont’s shareholders.

       209. Chemours was thinly capitalized following the Spinoff.

 Indeed,    shortly     after     the    Spinoff,    market     analysts   described

 Chemours    as   “a    bankruptcy       waiting    to    happen”    and   a   company

 “purposely designed for bankruptcy.”




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       210. In order to fund the $3.9 billion payment to DuPont,

 Chemours issued unsecured senior notes and entered into a credit

 agreement with a syndicate of banks to provide two senior secured

 credit facilities, incurring a total of $4 billion in indebtedness.

 Upon information and belief, the terms of the financing were

 dictated by DuPont, in its sole discretion, and not Chemours.

       211. According to Chemours’ unaudited pro forma financial

 statements, as of March 31, 2015 (but giving effect to all of the

 transactions contemplated in the Spinoff), Chemours had total

 assets of $6.4 billion and total liabilities of $6.3 billion.

 Following the Spinoff, Chemours issued a 10-K stating that, as of

 December 31, 2015, Chemours had assets totaling $6.3 billion and

 total liabilities of $6.2 billion.

       212. The 10-K stated that these liabilities included $454

 million in “other accrued liabilities,” which in turn included $11

 million for accrued litigation and $68 million for environmental

 remediation.      The 10-K also stated Chemours had $553 million in

 “other liabilities,” which included $223 million for environmental

 remediation and $58 million for accrued litigation.

       213. However,       Chemours     significantly      underestimated          its

 liabilities, especially the liabilities that it had assumed from

 DuPont with respect to PFOA and other PFAS contamination, which

 DuPont and Chemours should have known would be billions of dollars




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 in    addition     to    other     environmental      liabilities      for     other

 contaminants discharged at DuPont and Chemours facilities.

        214. For example, in 2017, Chemours and DuPont amended the

 Separation Agreement in connection with the settlement of the

 personal injury multi-district litigation brought by thousands of

 residents who had been exposed to PFOA from DuPont’s Washington

 Works plant.       Per the amendment, Chemours paid $320.35 million to

 the plaintiffs in the settlement on August 21, 2017, and DuPont

 paid an additional $320.35 million on September 1, 2017.                     For all

 future PFOA costs incurred from July 6, 2017 through July 6, 2022,

 Chemours agreed to cover the first $25 million per 12-month period,

 DuPont agreed to cover the next $25 million per 12-month period,

 and Chemours agreed to cover any additional amounts. Chemours is

 a    named   defendant     in    numerous     lawsuits   relating    to   DuPont’s

 historical use of PFAS and other contaminants.

        215. Had Chemours taken the full extent of these liabilities

 into account, as it should have done, it would have negative equity

 (that is, liabilities that are greater than assets), and would be

 balance sheet insolvent.

                                   SCOPE OF ACTION

        216. Through this action, Plaintiffs are not seeking damages,

 remediation      or   restoration     with     respect   to   any   contamination

 related to AFFF, which is a product that contains PFAS compounds,

 and not within the scope of this litigation.


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         217. Likewise, and notwithstanding anything to the contrary

 herein, Plaintiffs are not asserting claims or seeking costs or

 damages regarding the remediation or restoration of the Delaware

 River at this time.            While the State is seeking that Defendants

 pay     all   costs    necessary     to   investigate,      locate,    and   assess

 hazardous       substances,      pollution,     and   contamination      that       has

 emanated, released, or discharged from Chambers Works, the State

 is explicitly reserving its claims to remediate and restore the

 Delaware River of Defendants’ hazardous substances, pollutants,

 and contaminants until such time as the investigation work is more

 fully complete.

         218. In 2005, the Department, the Administrator and DuPont

 entered into a Compensatory Restoration Administrative Consent

 Order (“CRACO”).        The CRACO is not a bar to the claims asserted in

 this Complaint for reasons including, but not limited to, the

 following:       DuPont has failed to comply with the CRACO, concealed

 the nature and extent of contamination at its facilities, has

 attempted       to    provide    contaminated      property     to    fulfill       its

 obligations, additional injuries have been incurred, additional

 discharges have occurred since the CRACO became effective, and

 injuries       to    natural    resources,     including      groundwater,      have

 resulted from remedial action implementation.




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                               First Count
                 (Spill Act – As Against All Defendants)

       219. Plaintiffs       repeat    each      allegation     of    Paragraphs    1

 through 218 above as though fully set forth in its entirety herein.

       220. Each Defendant is a “person” within the meaning of

 N.J.S.A. 58:10-23.11b.

       221. The discharge of hazardous substances is prohibited.

 N.J.S.A. 58:10-23.11c.

       222. Many of the contaminants of concern at the Site are

 hazardous substances as defined in N.J.S.A. 58:10-23.11b.

       223. The Department has submitted a notice of rule proposal

 to add PFOA to the Department’s List of Hazardous Substances at

 N.J.A.C. 7:1E-Appendix A, which upon adoption will result in PFOA

 becoming a hazardous substance.

       224. Except      as    otherwise         provided   in    N.J.S.A.      58:10-

 23.11g(12), which is not applicable here, any person who discharges

 a hazardous substance, or is in any way responsible for any

 hazardous    substance,     shall    be    liable,    jointly       and   severally,

 without regard to fault, for all cleanup and removal costs no

 matter by whom incurred.         N.J.S.A. 58:10-23.11g(c)

       225. The Department and the Administrator have incurred, and

 will continue to incur, costs and damages, including lost use and

 value, costs of restoration and replacement for natural resources




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 of this State that have been, or may be, injured as a result of

 discharges at Chambers Works, and assessment costs.

         226. The      costs    and        damages     the     Department      and    the

 Administrator       have    incurred,       and     will    incur,   associated     with

 discharges at Chambers Works, are “cleanup and removal costs”

 within the meaning of N.J.S.A. 58:10-23.11b.

         227. DuPont, Chemours, and Chemours FC, as dischargers of

 hazardous substances at Chambers Works, are liable, jointly and

 severally, without regard to fault, for all cleanup and removal

 costs and direct and indirect damages, including lost use and

 value, costs of restoration and replacement, and assessment costs,

 the Department and Administrator have incurred, and will incur, to

 assess, mitigate, restore, or replace any natural resource of this

 State that has been, or may be, injured as a result of the discharge

 of    hazardous     substances       at    Chambers    Works.        N.J.S.A.   58:10-

 23.11g(c)(1).

         228. DuPont, Chemours, and Chemours FC, as owners and/or

 operators of Chambers Works at the time hazardous substances were

 discharged there, also are persons in any way responsible, and are

 liable, jointly and severally, without regard to fault, for all

 cleanup      and   removal     costs      and     direct    and    indirect   damages,

 including lost use and value, costs of restoration and replacement,

 and     assessment     costs    the       Department       and    Administrator     have

 incurred, and will incur, to assess, mitigate, restore, or replace


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 any natural resource of this State that has been, or may be,

 injured as a result of the discharge of hazardous substances at

 Chambers Works.      N.J.S.A. 58:10-23.11g(c)(1).

       229. Chemours FC, as the knowing purchaser of contaminated

 property,      Chambers   Works,    at   which     hazardous    substances      were

 previously discharged, is also a person in any way responsible,

 and is liable, without regard to fault, for all cleanup and removal

 costs and direct and indirect damages, including lost use and

 value, costs of restoration and replacement, and assessment costs,

 that the Department and the Administrator have incurred, and will

 incur,    to    assess,   mitigate,      restore    or   replace,   any   natural

 resource of this State that has been, or may be, injured as a

 result of the discharge of hazardous substances at Chambers Works.

 N.J.S.A. 58:10-23.11g(c)(3).

       230. 3M, as the manufacturer, distributor, and/or seller of

 a proposed hazardous substance discharged at Chambers Works, will

 be a person in any way responsible, and will be liable, without

 regard to fault, for all cleanup and removal costs and direct and

 indirect       damages,   including      lost    use     and   value,   costs     of

 restoration and replacement, assessment costs, that the Department

 and the Administrator have incurred, and will incur, to assess,

 mitigate, restore or replace, any natural resource of this State

 that has been, or may be, injured as a result of the discharge of




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 the     hazardous     substance     at    Chambers   Works.      N.J.S.A.    58:10-

 23.11g(c)(3).

         231. Pursuant to N.J.S.A. 58:10-23.11u(a)(1)(a) and N.J.S.A.

 58:10-23.11u(b), the Department may bring an action in the Superior

 Court        for,   inter   alia,    injunctive      relief,    N.J.S.A.     58:10-

 23.11u(b)(1); for its unreimbursed investigation, cleanup and

 removal costs, including the reasonable costs of preparing and

 successfully litigating the action, N.J.S.A. 58:10-23.11u(b)(2);

 for natural resource restoration and replacement costs, N.J.S.A.

 58:10-23.11u(b)(4);         and     for   any   other   unreimbursed      costs     or

 damages the Department incurs under the Spill Act, N.J.S.A. 58:10-

 23.11u(b)(5).

         232. Pursuant to N.J.S.A. 58:10-23.11g(a) and (b), DuPont,

 Chemours, Chemours FC, and 3M are also liable for lost income due

 to damage to natural resources destroyed or damaged by a discharge,

 and loss of State tax revenue due to damage to real or personal

 property proximately resulting from a discharge.

         233. As a direct or indirect result of such violations, the

 Department and the Administrator have incurred, are incurring, and

 will continue to incur substantial costs including costs relating

 to:

         a.     the investigation, cleanup, and removal of discharged

                hazardous substances;




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       b.    the restoration of natural resources contaminated by

             discharges of hazardous substances at the Site;

       c.    the compensation of the citizens of New Jersey for the

             lost interim value and benefits of natural resources

             contaminated by discharges of hazardous substances the

             Site; and

       d.    the    institution       of     corrective     measures      including

             monitoring of all impacted and potentially impacted

             public    and   private       drinking    water   supplies    for     the

             presence of hazardous substances, provision of interim

             water supplies to residents whose water supplies have

             been     contaminated         due    to   such      discharges,       the

             establishment of acceptable sources of potable water to

             injured     members    of     the   public,   and   other    necessary

             remedial actions, all at significant expense, loss, and

             damage.

       234. The costs the Department and the Administrator have

 incurred, and will incur, are “cleanup and removal costs” within

 the meaning of N.J.S.A. 58:10-23.11b.

       235. Pursuant to N.J.S.A. 58:10-23.11q, the Administrator is

 authorized to bring an action in the Superior Court for any

 unreimbursed costs or damages paid from the Spill Fund.




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                                 PRAYER FOR RELIEF

       WHEREFORE, the Department and the Administrator request that

 this Court enter judgment against Defendants as follows:


       a.    Ordering each Defendant to reimburse the Department and

             Administrator, jointly and severally, without regard to

             fault, for all cleanup and removal costs and direct and

             indirect damages they have incurred, including lost use

             and value, costs of restoration and replacement for any

             natural resource of this State injured as a result of

             the discharge of hazardous substances at Chambers Works,

             with applicable interest, and assessment costs;

       b.    Finding each Defendant liable, jointly and severally,

             without regard to fault, for all future cleanup and

             removal costs and direct and indirect damages, including

             lost use and value, costs of restoration and replacement

             for any natural resource of this State injured as a

             result      of   the   discharge      of   hazardous     substances     at

             Chambers Works, with applicable interest, and assessment

             costs;

       c.    Compelling       each    Defendant,        jointly     and     severally,

             without regard to fault, to perform any further cleanup

             of    the    Site      and     contaminated     areas     off-site      in

             conformance       with       the    Site   Remediation       Reform   Act,




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             N.J.S.A. 58:10C-1 to -29, and all other applicable laws

             and regulations;

       d.    Compelling      each       Defendant,        jointly       and    severally,

             without     regard     to    fault,     to    fund     the       Department’s

             performance of an assessment of any natural resource

             that has been, or may be, injured as a result of the

             discharge of hazardous substances at Chambers Works, and

             compelling each Defendant to compensate the citizens of

             New     Jersey,      for     the    costs       of        restoration        and

             replacement, including lost use and value of any injured

             natural resource;

       e.    Ordering Defendants to pay for all compensatory damages

             for the lost value (including lost use) of the State’s

             natural resources as a result of the contamination of

             such natural resources;

       f.    Finding each Defendant liable, jointly and severally,

             without regard to fault, for lost income due to damage

             to    natural     resources        destroyed         or    damaged      by     a

             discharge, and loss of State tax revenue due to damage

             to real or personal property proximately resulting from

             a discharge;

       g.    Awarding the Department and the Administrator their

             costs and fees in this action pursuant to N.J.S.A. 58:10-

             23.11u(b)(2); and


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       h.    Awarding the Department and the Administrator interest

             and such other relief as this Court deems appropriate.

                             Second Count
     (Water Pollution Control Act – As Against DuPont, Chemours,
                             Chemours FC)

       236. Plaintiffs       repeat    each    allegation     of   Paragraphs      1

 through 235 above as though fully set forth in its entirety herein.

       237. DuPont, Chemours, and Chemours FC are each a “person”

 within the meaning of N.J.S.A. 58:10A-3.

       238. Except      as   otherwise     exempted     pursuant     to   N.J.S.A.

 58:10A-6(d) and (p), which are not applicable here, it is unlawful

 for any person to discharge any pollutant except to the extent the

 discharge conforms with a valid New Jersey Pollutant Discharge

 Elimination System permit issued by the Commissioner pursuant to

 the WPCA, or pursuant to a valid National Pollutant Discharge

 Elimination System permit issued pursuant to the federal Water

 Pollution Control Act, 33 U.S.C. §§ 1251 to -1387.                       N.J.S.A.

 58:10A-6(a).

       239. The unauthorized discharge of pollutants is a violation

 of the WPCA for which any person who is the discharger is strictly

 liable, without regard to fault. N.J.S.A. 58:10A-6(a).

       240. The Department has incurred, and will continue to incur,

 costs as a result of the discharge of pollutants at Chambers Works.

       241. The Department also has incurred, and will continue to

 incur, costs and damages, including the costs of investigation to


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 establish      a    violation     at   Chambers   Works,    costs     in   removing,

 correcting or terminating the adverse effects upon water quality

 or    public       health   due   to   violations    at    Chambers     Works,     and

 compensatory damages and any other actual damages for any natural

 resource of this State that has been, or may be, lost or destroyed

 as a result of the discharge of pollutants at Chambers Works.

        242. The costs and damages the Department has incurred, and

 will incur, for Chambers Works are recoverable by the Commissioner

 within the meaning of N.J.S.A. 58:10A-10(c)(2)-(4).

        243. DuPont, Chemours, and Chemours FC discharged pollutants

 at    Chambers       Works,   which     discharges   were     neither      permitted

 pursuant       to    N.J.S.A.     58:10A-6(a),    nor     exempted    pursuant     to

 N.J.S.A. 58:10A-6(d) or N.J.S.A. 58:10A-6(p), and are liable,

 without regard to fault, for all costs and damages, including

 compensatory damages and any other actual damages for any natural

 resource of this State that has been, or may be, lost or destroyed

 as a result of the discharge of pollutants at Chambers Works.

        244. Pursuant to N.J.S.A. 58:10A-10(c), the Commissioner may

 bring an action in the Superior Court for injunctive relief,

 N.J.S.A. 58:10A-10(c)(1); for the costs of any investigation,

 inspection, or monitoring survey which led to establishment of the

 violation, including the costs of preparing and litigating the

 case, N.J.S.A. 58:10A-10(c)(2); any cost incurred by the State in

 removing, correcting, or terminating the adverse effects upon


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 water    quality    resulting     from    any   unauthorized      discharge       of

 pollutants for which action under this subsection may have been

 brought, N.J.S.A. 58:10A-10(c)(3); compensatory damages and any

 other actual damages for any natural resource of this State that

 has been, or may be, lost or destroyed as a result of the

 unauthorized discharge of pollutants, N.J.S.A. 58:10A-10(c)(4);

 and the actual amount of any economic benefits accruing to the

 violator     from   any   violation,     including    savings    realized     from

 avoided capital or noncapital costs resulting from the violation,

 the return earned or that may be earned on the amount of avoided

 costs, any benefits accruing as a result of a competitive market

 advantage enjoyed by reason of the violation, or any other benefit

 resulting from the violation, N.J.S.A. 58:10A-10(c)(5).

                               PRAYER FOR RELIEF

         WHEREFORE, the Commissioner requests that this Court enter

 judgment against DuPont, Chemours, and Chemours FC as follows:

         a.   Permanently enjoining DuPont, Chemours, and Chemours FC,

              requiring them to remove, correct, or terminate the

              adverse effects on water quality resulting from any

              unauthorized discharge of pollutants at or from Chambers

              Works;

         b.   Assessing DuPont, Chemours, and Chemours FC, without

              regard to fault, for the costs for any investigation,



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             inspection,         or    monitoring        survey,     leading       to

             establishment of the violation, including the costs of

             preparing and litigating the case;

       c.    Finding     DuPont,      Chemours,    and    Chemours    FC   liable,

             without regard to fault, for all costs for removing,

             correcting, or terminating the adverse effects upon

             water quality resulting from any unauthorized discharge

             of pollutants at Chambers Works;

       d.    Finding     DuPont,      Chemours,    and    Chemours    FC   liable,

             without regard to fault, for all compensatory damages

             and other actual damages for any natural resource of the

             State that has been, or may be, injured, lost, or

             destroyed as a result of the unauthorized discharge of

             pollutants at Chambers Works;

       e.    Finding     DuPont,      Chemours,   and    Chemours    FC    liable,

             without regard to fault, for the amount of any economic

             benefits     they     have   accrued,      including    any   savings

             realized from avoided capital or noncapital costs, the

             return they have earned of the amount of avoided costs,

             and benefits each Defendant has enjoyed as a result of

             a competitive market advantage, or any other benefit

             they have received as a result of having violated the

             WPCA;




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       f.     Awarding the Commissioner her costs and fees in this

              action pursuant to N.J.S.A. 58:10A-49.1(c)(2); and

       g.     Awarding the Commissioner interest and such other relief

              as the Court deems appropriate.



                                Third Count
            (Industrial Site Recovery Act – As Against DuPont)

       245. Plaintiffs       repeat      each    allegation    of     Paragraphs    1

 through 244 above as though fully set forth in its entirety herein.

       246. The purpose of ISRA is to ensure that any property

 meeting the definition of an “industrial establishment” will be

 investigated       for   potential       environmental       impacts     and,     if

 warranted, remediated in accordance with Department regulatory

 requirements if and when the establishment, or the entity that

 owns or operates an establishment, either closes the operations of

 the establishment or transfers the establishment’s ownership or

 operations.        N.J.S.A. 13:1K-7.       A principal goal of ISRA is to

 ensure      that     “funding     for     the     cleanup      [of     industrial

 establishments] is set aside at the time it is available from a

 transfer or closing” such that “contaminated property is not

 abandoned to the State for cleanup.”             Id.

       247. An “industrial establishment” is defined by Department

 regulation as “any place of business or real property at which

 such business is conducted” that falls within a range of North



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 American Industry Classification System (“NAICS”) codes listed in

 Appendix      C    to        N.J.A.C.          7:26B-1.1,    whereon      operations      were

 conducted on or after December 31, 1983, involving the generation,

 manufacture,           refining,           transportation,         treatment,          storage,

 handling, or disposal of hazardous substances and wastes on-site,

 above or below ground, unless otherwise provided at N.J.A.C. 7:26B-

 2.1.    N.J.A.C. 7:26B-1.4.

        248. For         any     ISRA-applicable           transfer       of   ownership      or

 operations of an industrial establishment, the owner or operator

 of the industrial establishment that is the subject of the transfer

 is    required         to    file     a    General      Information      Notice    with     the

 Department within five days after (1) the execution of an agreement

 to transfer ownership or operations or (2) closing operations of

 or    its   public          release       of    its    decision    to   close    operations,

 whichever occurs first.                   N.J.S.A. 13:1K-9(a).

        249. For         any     ISRA-applicable           transfer       of   ownership      or

 operations        of    an    industrial          establishment,        except    in    limited

 circumstances not relevant here, the owner or operator of the

 industrial establishment that is the subject of the transfer also

 is required, prior to the transfer, to establish ISRA compliance

 either by obtaining Department approval of one of several forms as

 set forth at N.J.A.C. Sections 7:26B-5.3 through 5.9 or by filing

 a    completed     Remediation             Certification      as    defined      pursuant   to

 N.J.A.C. 7:26B-3.3 (collectively, “ISRA Compliance”).


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       250. If     the       form   of     ISRA   Compliance      is    a   Remediation

 Certification,        the    transferring        party   must    also      establish   a

 Remediation     Funding       Source      (“RFS”)   prior   to    the      transfer    in

 accordance with applicable requirements in NJDEP’s Administrative

 Requirements for the Remediation of Contaminated Sites (“ARRCS”)

 at N.J.A.C. 7:26C-5.1 to -5.13.

       251. Chambers Works is a chemical manufacturing facility and,

 as such, falls within either or both NAICS Codes 325 and 326, both

 of which are within the range of ISRA-applicable NAICS codes.                         Id.

       252. By special warranty deed dated January 23, 2015, DuPont

 transferred the ownership of Chambers Works to Chemours FC (the

 “Deed    Transfer”),         which      transfer    constituted        a   “change     in

 ownership” and a “transfer of ownership or operations” as defined

 in ISRA, thereby triggering ISRA’s requirements.

       253. DuPont failed to file a General Information Notice with

 the Department within five days of the Deed Transfer, thereby

 violating ISRA, which violation has continued each day thereafter

 that DuPont failed to file such General Information Notice.

       254. DuPont’s January 23, 2015 transfer of a deed to Chemours

 FC for Chambers Works without previously obtaining ISRA Compliance

 and establishing an RFS constitutes a separate and individual

 violation of ISRA, which DuPont has failed to cure to this day.

       255. On    or     about      June    26,   2015,   DuPont       entered   into    a

 Separation Agreement (the “Separation Agreement”) with Chemours to


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 spin off DuPont’s Performance Chemicals Business via a transfer of

 stock and assets into a new public company, Chemours (the “Chemours

 Spinoff”).

        256. The Separation Agreement constituted an agreement to

 “transfer      ownership      or   operations”      of    Chambers     Works,      an

 industrial establishment, within the meaning of ISRA, that would

 result in the transfer of more than 10 percent of DuPont’s assets

 available for remediation of Chambers Works.                See N.J.S.A. 13:1K-

 8.     As such, DuPont’s execution of the Separation Agreement

 triggered an obligation for DuPont to file a General Information

 Notice with the Department notifying it of the transaction.

        257. DuPont failed to file a General Information Notice with

 the Department notifying it of the pending transfer of ownership

 or operations of Chambers Works to Chemours within five days of

 DuPont’s execution of the Separation Agreement, thereby violating

 ISRA, which violation has continued each day thereafter that DuPont

 failed to file such General Information Notice.

        258. The Chemours Spinoff constituted a “change of ownership”

 and a “transferring of ownership or operations” of Chambers Works,

 an industrial establishment, within the meaning of ISRA, that would

 result in the transfer of more than 10 percent of DuPont’s assets

 available for remediation of Chambers Works.                N.J.S.A. 13:1K-8.

        259. By its actions initiating and completing the Chemours

 Spinoff, including its execution of the Separation Agreement,


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 without having obtained the Department’s approval pursuant to

 N.J.A.C. Sections 7:26B-5.3 through 5.9 or without having first

 filed a Remediation Certification and establishing an RFS, DuPont

 violated ISRA and has continued to violate ISRA each day that it

 has failed to do so.

       260. As       a    direct   or     indirect     result    of    the    foregoing

 violations, Plaintiffs have incurred, are incurring, and will

 continue to incur substantial costs, including costs relating to

 the investigation, cleanup, and removal of discharged hazardous

 substances and pollutants, and New Jersey has been thwarted in its

 right pursuant to ISRA to obtain the financial assurance necessary

 to ensure that all hazardous substances and pollutants at and

 emanating from Chambers Work will be remediated in accordance with

 ISRA and the Department’s regulatory requirements.

       261. Pursuant to N.J.S.A. 13:1K-13.1, the Commissioner is

 authorized to bring an action in the Superior Court for relief for

 each day of each violation of ISRA to enforce the provisions of

 ISRA and to prohibit or to prevent the violation of ISRA or of any

 rule or regulation adopted pursuant ISRA.                      As further provided

 pursuant     to     N.J.S.A.      13:1K-13.1,         such   relief    may     include

 assessment     of       the   violator    for   the    reasonable     costs    of   any

 inspection that led to the establishment of the violation, and for

 the reasonable costs of preparing and litigating a claim seeking

 the enforcement of its ISRA obligations.


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                               PRAYER FOR RELIEF

       WHEREFORE, the Commissioner requests that this Court enter

 judgment against DuPont as follows:

       a.     Ordering DuPont to fully comply with ISRA by, inter alia,

              the   submission     of     a    Remediation   Certification         and

              establishment      of   a   Remediation     Funding     Source       for

              Chambers Works in conformance with N.J.A.C. 7:26C-5.1 to

              -5.13;

       b.     Ordering DuPont to reimburse the Commissioner for the

              reasonable costs of preparing and litigating her claim

              seeking the enforcement of DuPont’s ISRA obligations;

              and

       c.     Awarding the Commissioner such other relief as this

              Court deems appropriate.



                               Fourth Count
            (Brownfield and Contaminated Site Remediation Act
               As Against DuPont, Chemours, and Chemours FC

       262. Plaintiffs       repeat     each    allegation    of   Paragraphs       1

 through 261 above as though fully set forth in its entirety herein.

       263. DuPont, Chemours, and Chemours FC are each a “person”

 within the meaning of N.J.S.A. 58:10-23.11b and N.J.S.A 58:10B-1.

       264. Many of the contaminants of concern at the Site are

 hazardous substances as defined in N.J.S.A. 58:10-23.11b.



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       265. DuPont, Chemours, and Chemours FC are “dischargers” of

 hazardous substances at the Site and/or are each a “person in any

 way responsible,” pursuant to the Spill Compensation and Control

 Act, N.J.S.A. 58:10-23.11, for any hazardous substance that was

 discharged at the Site, as either an “owner of the real property

 where the discharge occurred at the time of the discharge” or a

 “subsequent owner of the real property where the discharge occurred

 prior to the filing of a final remediation document with the

 Department.”      N.J.A.C. 7:26C-1.4.

       266. Pursuant to Section 58:10B-1.3 of the Brownfields Act,

 as the discharger of hazardous substances at the Site or a person

 in any way responsible for a hazardous substance pursuant to

 N.J.S.A.     58:10-23.11g,     DuPont,    Chemours,     and   Chemours    FC      are

 affirmatively obligated to remediate the discharged hazardous

 substances at the Site.

       267. Pursuant to Section 58:10B-1.3 of the Brownfields Act,

 as the discharger of hazardous substances at the Site or a person

 in any way responsible for a hazardous substance, DuPont, Chemours,

 and Chemours FC are required to establish a RFS in an amount

 necessary to pay the cost to remediate.

       268.    Pursuant to N.J.A.C. 7:26C-1.4, DuPont, Chemours, and

 Chemours FC, each a “person in any way responsible,” pursuant to

 the Spill Act, are required to comply with the Department’s ARRCS

 rules.


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        269. Pursuant to the Department’s Technical Requirements for

 Site    Remediation,      N.J.A.C.     7:26E-1.3        and    7:26E-1.5(a)     (the

 “Technical Requirements”), as persons subject to the requirements

 of the ARRCS rules, DuPont, Chemours, and Chemours FC are required

 to conduct a remediation of contaminants discharged at the Site in

 accordance with the Technical Requirements.

        270. Pursuant to N.J.A.C. 7:26E-4.3(a)(4), 7:26E-5.1(b) and

 7:26E-5.1(d)(1) and (4) of the Technical Requirements, DuPont,

 Chemours,    and    Chemours    FC   are     required    to,    inter   alia,     (1)

 delineate the horizontal and vertical extent of all groundwater

 contamination to the groundwater remediation standard, and (2)

 remediate such contaminants in a manner that is “protective of

 public safety, health and the environment” and “complies with all

 applicable remediation standards.”

        271. On March 13, 2019, the Department established interim

 specific groundwater quality standards for PFOA and PFOS of 0.01

 ug/L (10 ng/L). The interim specific groundwater quality standards

 for PFOA and PFOS thereafter became effective upon posting to the

 "Table of Interim Specific Groundwater Quality Criteria (ISGWQC),

 Interim PQLs (IPQLs), and Interim Specific Groundwater Quality

 Standards (ISGWQS) for Constituents in Class II-A Groundwater" on

 the NJDEP website at https://www.nj.gov/dep/wms/bears/gwqs.htm.

 DuPont,    Chemours,     and   Chemours      FC   are   therefore    required      to




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 investigate and remediate PFOA and PFOS to the foregoing standards

 and to post an RFS in connection with the same.

         272. As       a    direct      or    indirect         result     of   the    foregoing

 violations, the Department and the Administrator have incurred,

 are     incurring,         and   will   continue         to    incur     substantial     costs

 including          costs    relating        to    the    investigation,        cleanup,     and

 removal of discharged constituents and other materials, and NJDEP

 has been thwarted in its right pursuant to the Brownfields Act to

 obtain       the    financial       assurance          necessary    to    ensure     that   all

 hazardous substances at and emanating from the Site will be cleaned

 up in accordance with the Brownfields Act and NJDEP’s regulatory

 requirements.

                                     PRAYER FOR RELIEF

         WHEREFORE, the Department and the Administrator request that

 this Court enter judgment against DuPont, Chemours, and Chemours

 FC as follows:

         a.     Ordering DuPont, Chemours and Chemours FC to, jointly

                and severally, fully comply with the Brownfields Act

                by, inter         alia, the             submission        of    a      remedial

                investigation workplan and remedial investigation report

                pertaining         to        all    off-site        locations        at   which

                pollutants,        contaminants           and/or    hazardous        substances

                originating from the Site have come to be located, and




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             the    establishment       of     a    RFS   for    Chambers   Works   in

             conformance with N.J.A.C. 7:26C-5.1 to -5.13;

       b.    Ordering DuPont, Chemours, and Chemours FC, jointly and

             severally, to reimburse the Department and Administrator

             for the reasonable costs of preparing and litigating

             their     claim    seeking      the      enforcement      of   DuPont’s,

             Chemours’ and Chemours FCs’ obligations pursuant to the

             Brownfields Act; and

       c.    Awarding the Department and the Administrator such other

             relief as this Court deems appropriate.

                               Fifth Count
                       (Solid Waste Management Act
              As Against DuPont, Chemours, and Chemours FC

       273. Plaintiffs       repeat     each        allegation    of   Paragraphs   1

 through 272 above as though fully set forth in its entirety herein.

       274. DuPont, Chemours, and Chemours FC are each a “person”

 within the meaning of N.J.S.A. 13:1E-3.

       275. The Solid Waste Management Act (“SWMA” or the “Act”)

 defines    “[s]olid    waste”    as,    inter       alia,     “discarded   materials

 resulting from industrial, commercial and agricultural operations”

 and “all other waste materials.” N.J.S.A. 13:1E-3.                    N.J.A.C. 7:26-

 1.6(b) defines “other waste material,” in pertinent part, as “any

 solid,     liquid,     semi-solid      or         contained     gaseous    material,

 including, but not limited to spent material, sludge, by-product,

 discarded commercial chemical products, or scrap metal resulting


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 from industrial, commercial, mining or agricultural operations,

 from community activities, or any other material which has served

 or can no longer serve its original intended use, which . . . [i]s

 discarded or intended to be discarded . . . [i]s applied to the

 land or placed on the land or contained in a product that is

 applied     to    or     placed      on   the    land    in    a   manner     constituting

 disposal.” N.J.A.C. 7:26-1.6(b) provides that “a material is also

 a   solid    waste       if   it     is   ‘disposed      of’    by   being     discharged,

 deposited, injected, dumped, spilled, leaked or placed into or on

 any land or water so that such material or any constituent thereof

 may enter the environment or be emitted into the air or discharged

 into ground or surface waters.”

       276.       N.J.S.A. 13:1E-3 of the SWMA and N.J.A.C. 7:26-1.4

 define      “disposal”         as     “the     storage,       treatment,      utilization,

 processing,       resource          recovery    of,     or   the   discharge,     deposit,

 injection, dumping, spilling, leaking or placing of any solid or

 hazardous waste into or on any land or water, so that the solid or

 hazardous        waste    or        any   constituent         thereof   may    enter   the

 environment or be emitted into the air or discharged into any

 waters, including groundwaters.”

       277. Various constituents present in soils, groundwater and

 surface water in and around the Site, including PFAS-related

 chemicals, are discarded materials and are “solid waste” as defined

 under N.J.S.A. 13:1E-3 and N.J.A.C. 7:26-1.6.


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        278. DuPont, Chemours, and Chemours FC have engaged in the

 past disposal, and/or are continuing to engage in the disposal, of

 solid   waste      in   and     around   the   Site   in    the       form   of   various

 constituents,        including     PFAS-related       chemicals,        without     first

 having filed a completed application for and received approval of

 a   solid    waste      facility    (“SWF”)     permit     for    such       activities,

 resulting in the widespread presence of such solid wastes in soils,

 groundwater, and surface water in and around the Site, all in

 violation of N.J.A.C. 7:26-2.8(e).

        279. DuPont, Chemours, and Chemours FC have engaged in the

 past disposal, and/or are continuing to engage in the disposal, of

 solid waste in and/or around the Site in the form of hazardous

 constituents, including PFAS-related chemicals, in excess of 0.148

 cubic yards of solids and/or 30 gallons of liquids, at locations

 other than a permitted SWF, resulting in the widespread presence

 of such solid wastes in soils, groundwater, and surface water in

 and around the Site, in violation of N.J.S.A. 13:1E-9.3.

        280. Pursuant       to    N.J.S.A.      13:1E-9(b)    and       (d),    when   the

 Commissioner finds that a person has violated any provision of the

 SWMA    or   any    regulations      adopted     pursuant        to    the    SWMA,   the

 Commissioner is authorized to bring a civil action in Superior

 Court seeking temporary or permanent injunctive and other relief,

 as well as assessment of the violator for the costs of any

 investigation leading to the establishment of the violation, costs


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 incurred by the State in removing, correcting or terminating the

 adverse effects to water and air quality resulting from the

 violation, and assessment against the violator of compensatory

 damages for any loss or destruction of wildlife, fish or aquatic

 life, and for any other actual damages, all of which relief may be

 awarded in a summary manner.

                                PRAYER FOR RELIEF

       WHEREFORE, the Commissioner requests that this Court enter

 judgment against DuPont, Chemours, and Chemours FC as follows:

       a. Ordering DuPont, Chemours, and Chemours FC to, jointly and

          severally, fully comply with the SWMA by, inter alia,

          removing all unlawfully disposed of solid waste, including

          PFAS-related chemicals, from all locations in and around

          the Site at which the same have come to be located and for

          which DuPont, Chemours, and Chemours FC did not obtain a

          SWF permit;

       b. Ordering DuPont, Chemours, and Chemours FC, jointly and

          severally, to reimburse the Commissioner for the reasonable

          costs of preparing and litigating her claim seeking the

          enforcement      of   DuPont’s,     Chemours’,    and   Chemours     FC’s

          obligations pursuant to the SWMA;

       c. Ordering DuPont, Chemours, and Chemours FC, jointly and

          severally, to reimburse the Commissioner for the cost

          incurred by the Department in removing, correcting or


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          terminating the adverse effects upon water and air quality

          resulting from their violations of the SWMA;

        d. Ordering DuPont, Chemours, and Chemours FC, jointly and

          severally,      to    compensate      the   State   for      the    loss   or

          destruction of wildlife, fish or aquatic life, and other

          actual damages caused by their violations of the SWMA; and

        e. Awarding the Commissioner such other relief as this Court

          deems appropriate.

                               Sixth Count
                       (Air Pollution Control Act
              As Against DuPont, Chemours, and Chemours FC

        281. Plaintiffs        repeat    each   allegation       of    Paragraphs    1

 through 280 above as though fully set forth in its entirety herein.

        282. DuPont, Chemours, and Chemours FC are each a “person”

 within the meaning of N.J.S.A. 26:2C-2 and N.J.A.C. 7:27-1.4.

        283. It is unlawful for any person to “cause, suffer, allow

 or permit to be emitted into the outdoor atmosphere substances in

 quantities which shall result in air pollution.”                     N.J.A.C. 7:27-

 5.2.

        284. “‘Air    pollution’        means   the   presence    in    the   outdoor

 atmosphere of one or more air contaminants in such quantities and

 duration as are, or tend to be, injurious to human health or

 welfare, animal or plant life or property, or would unreasonably

 interfere with the enjoyment of life or property throughout the

 State and in such territories of the State as shall be affected


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  thereby and excludes all aspects of employer-employee relationship

  as to health and safety hazards.”                 N.J.A.C. 7:27-5.1.

          285. “‘Air contaminant’ means any substance, other than water

  or     distillates     of    air,     present     in    the    atmosphere   as    solid

  particles, liquid particles, vapors, or gases.” N.J.S.A. 26:2C-2.

          286. PFAS compounds, including PFOA and GenX, emitted from

  Chambers Works are air contaminants that have, upon information

  and belief, caused air pollution by contaminating drinking water

  wells as far as five miles away (and possibly farther) from

  Chambers Works with concentrations of PFOA exceeding the proposed

  maximum contaminant level of 14 ppt.                      These emissions of air

  contaminants are injurious to human health or welfare, animal or

  plant     life    or   property,      and    unreasonably       interfere   with    the

  enjoyment of life or property within the State, thereby violating

  N.J.A.C. 7:27-5.2.

          287. Pursuant to N.J.S.A. 26:2C-19(a), and 13:1D-9(e) and

  (n), the Department may bring an action for injunctive relief and

  any     other    appropriate        relief    to       prohibit   and   prevent     the

  violations.

          288. DuPont, Chemours, and Chemours FC are not entitled to

  any      affirmative        defense    because         their   emissions    of     PFAS

  contaminants from Chambers Works threatened and continue to pose

  a potential threat to public health, welfare, or the environment.

  N.J.S.A. 26:2C-19.3.


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                                PRAYER FOR RELIEF

        WHEREFORE, the Department requests that this Court enter

  judgment against Defendants as follows:

        a.    Permanently enjoining DuPont, Chemours, and Chemours FC,

              from emitting PFAS air contaminants from Chambers Works;

        b.    Ordering DuPont, Chemours, and Chemours FC to remediate

              all    soils    and    waters    contaminated      by    their    PFAS

              emissions in order to mitigate the injuries to human

              health and welfare, animal and plant life and property,

              and the unreasonable interference with the enjoyment of

              life and property; and

        b.    Awarding the Commissioner her costs and fees in this

              action and any other relief the Court deems appropriate

              pursuant to N.J.S.A. 26:2C-19(a).

                             Seventh Count
   (Public Nuisance – As Against DuPont, Chemours, and Chemours FC)

        289. Plaintiffs       repeat    each    allegation     of     Paragraphs      1

  through 288 above as though fully set forth in its entirety herein.

        290. Groundwater,       surface    water,    sediment,      wetlands,       and

  biota are natural resources of the State held in trust by the

  State.

        291. The use, enjoyment, and existence of uncontaminated

  natural resources is a right common to the general public.




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        292. The contamination of the groundwater, surface water,

  sediment,     wetlands,    and    biota     at   and   around    Chambers    Works

  constitutes a physical invasion of the State’s natural resources,

  and upon information and belief, the State’s real property in the

  vicinity    of    the   Site,    and   an    unreasonable       and   substantial

  interference, both actual and potential, with (1) the exercise of

  the public’s common right to these natural resources; (2) the

  State’s special property and statutory status and obligations

  regarding the natural resources of the State; (3) the State’s

  ability, through the Department, to protect, conserve and manage

  the natural resources of the State, which are by law precious and

  invaluable public resources held by the State in trust for the

  benefit of the public; and (4) the rights of the people of the

  State to enjoy their natural resources free from interference by

  pollution and contamination.

        293. As the owner of the New Jersey Natural Land Trust Game

  Branch Preserve and the New Jersey Fish & Wildlife Salem River

  Wildlife Management Area, which upon information and belief has

  become contaminated by Chambers Works, the Department has suffered

  a special injury different from that common to the general public.

        294. As long as these natural resources at and around Chambers

  Works remain contaminated due to DuPont, Chemours, and Chemours

  FC’s conduct, the public nuisance continues.




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        295. Until these natural resources are restored to their pre-

  injury quality, DuPont, Chemours, and Chemours FC are liable for

  the creation, and continued maintenance, of a public nuisance in

  contravention     of   the   public’s     common    right    to   clean   natural

  resources.

        296. DuPont, Chemours, and Chemours FC committed each of the

  above-described acts and omissions with actual malice or with a

  wanton and willful disregard of persons who foreseeably might be

  harmed by those acts or omissions.

                                PRAYER FOR RELIEF
        WHEREFORE, Plaintiffs request that this Court enter judgment

  against DuPont, Chemours, and Chemours FC as follows:

        a.     Ordering DuPont, Chemours, and Chemours FC to reimburse

               the Department and Administrator for their costs of

               abatement, without regard to fault, including but not

               limited to all costs to investigate, clean up, restore,

               treat, monitor, and otherwise respond to contamination

               of the State’s natural resources so that such natural

               resources are restored to their original condition;

        b.     Compelling DuPont, Chemours, and Chemours FC to abate

               the nuisance by investigating, cleaning up, restoring,

               treating,     monitoring,       and   otherwise      responding      to

               contamination in the State’s natural resources so that




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              such natural resources are restored to their original

              condition;

        c.    Compelling DuPont, Chemours, and Chemours FC to pay

              special damages to Plaintiffs, funding the Department’s

              performance of any further assessment and compensatory

              restoration of any natural resource that has been, or

              may be, injured as a result of the discharge of hazardous

              substances      and    pollutants     at    Chambers     Works,       and

              compelling      DuPont,     Chemours,      and    Chemours     FC      to

              compensate the citizens of New Jersey, for the costs of

              restoration and replacement, including lost use and

              value of any injured natural resource;

        d.    Awarding Plaintiffs punitive damages in an amount to be

              determined by the Court;

        e.    Awarding     Plaintiffs     costs    and   fees   in   this   action,

              including attorneys’ fees, incurred in prosecuting this

              action, together with prejudgment interest, to the full

              extent permitted by law; and

        f.    Awarding Plaintiffs such other relief as this Court

              deems proper.

                              Eighth Count
       (Trespass – As Against DuPont, Chemours, and Chemours FC)

        297. Plaintiffs       repeat    each    allegation      of   Paragraphs      1

  through 296 as if fully set forth in their entirety herein.



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        298. Groundwater,       surface    water,    sediment,     wetlands,        and

  biota are natural resources of the State held in trust by the State

  for the benefit of the public.            Water resources are owned by the

  State for the benefit of its citizens.

        299. The State brings this claim in both its public trustee

  and parens patriae capacities.

        300. As the trustee over the State’s natural resources, the

  State has a duty to protect and restore all natural resources of

  the State and protect the health and comfort of its inhabitants.

        301. In its parens patriae capacity, the State may protect

  its “quasi-sovereign” interests, including the State’s interest in

  the well-being of its populace, as well as the populace’s interest

  in the integrity of the State’s natural resources.                  Accordingly,

  the State is bringing this action for the invasion of a substantial

  number of its residents’ possessory interests in the State’s

  natural resources.        Waters, sediments, and biota that have been

  affected by DuPont, Chemours, and Chemours FC’s contamination are

  mobile, moving to and inhabiting areas far from the immediate area

  of the initial contamination.

        302. Additionally, the State is the owner of lands, including

  the New Jersey Natural Land Trust Game Branch Preserve and the New

  Jersey Fish & Wildlife Salem River Wildlife Management Area, in

  the vicinity of Chambers Works.




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          303. The     hazardous        substances    and    pollutants       in      the

  groundwater, surface water, sediment, wetlands, soils, and biota

  at and around Chambers Works, including, upon information and

  belief, on State-owned lands, constitute a physical invasion of

  property without permission or license.

          304. DuPont,        Chemours,   and    Chemours    FC   are    liable       for

  trespass, and continued trespass, because the hazardous substances

  and     pollutants     in    the    groundwater,    surface     water,   sediment,

  wetlands, soils, and biota at and around Chambers Works, as well

  as contamination previously removed from Chambers Works, resulted

  from discharges of hazardous substances and pollutants at the Site.

          305. As long as the natural resources remain contaminated due

  to DuPont’s, Chemours’, and Chemours FC’s conduct, the trespass

  continues.

          306.    DuPont, Chemours, and Chemours FC committed each of the

  above-described acts and omissions with actual malice or with a

  wanton and willful disregard of persons who foreseeably might be

  harmed by those acts or omissions.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs request that this Court enter judgment

  against DuPont, Chemours, and Chemours FC as follows:

          a.     Finding      DuPont,   Chemours,     and   Chemours     FC   liable,

                 jointly and severally, for all costs to investigate,

                 clean up, restore, treat, monitor, and otherwise respond



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              to contamination of the State’s natural resources so

              that    such    natural     resources    are     restored    to    their

              original condition, and for all damages to compensate

              the citizens of New Jersey for the lost use and value of

              their    natural      resources   during    all    times    of    injury

              caused by hazardous substances and pollutants, and for

              such orders as may be necessary to provide full relief

              to address risks to the State, including the costs of:

                      1)     Past and future testing of natural resources

                             likely to have been contaminated by hazardous

                             substances or pollutants;

                      2)     Past   and   future   treatment      of   all     natural

                             resources    containing     detectable       levels    of

                             hazardous substances or pollutants restored to

                             non-detectable levels; and

                      3)     Past and future monitoring of the State’s

                             natural resources to detect the presence of

                             hazardous    substances      or     pollutants,        and

                             restoration of such natural resources to their

                             pre-discharge condition;

        b.    Ordering DuPont, Chemours, and Chemours FC to pay for

              all     costs    related    to    the   investigation,         cleanup,

              restoration, treatment, and monitoring of contamination

              of the State’s natural resources;


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        c.    Ordering DuPont, Chemours, and Chemours FC to pay for

              all damages in an amount at least equal to the full cost

              of restoring the State’s natural resources to their

              original condition prior to the contamination;

        d.    Ordering DuPont, Chemours, and Chemours FC to pay for

              all compensatory damages for the lost value (including

              lost use) of the State’s natural resources as a result

              of the contamination of such natural resources;

        e.    Ordering DuPont, Chemours, and Chemours FC to pay for

              all   other    damages     sustained    by    Plaintiffs     in   their

              public      trustee,      parens     patriae,       and     regulatory

              capacities as a direct and proximate result of DuPont’s,

              Chemours’, and Chemours FC’s acts and omissions alleged

              herein;

        f.    Entering an order against DuPont, Chemours, and Chemours

              FC for all appropriate injunctive relief to abate or

              mitigate the contamination that DuPont, Chemours, and

              Chemours FC caused;

        g.    Awarding Plaintiffs punitive damages in an amount to be

              determined by the Court;

        h.    Awarding      Plaintiffs    costs    and     fees   in    this   action,

              including attorneys’ fees, incurred in prosecuting this

              action, together with prejudgment interest, to the full

              extent permitted by law; and


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          i.   Awarding Plaintiffs such other relief as this Court

               deems appropriate.

                                 Ninth Count
                  (Negligence – As Against All Defendants)

          307. Plaintiffs     repeat    each    allegation      of   Paragraphs     1

  through 306 above as though fully set forth in its entirety herein.

          308. DuPont,    Chemours,     and    Chemours    FC    had   a   duty     to

  Plaintiffs to ensure that hazardous substances and pollutants were

  not discharged at Chambers Works and did not injure groundwater,

  surface water, sediment, wetlands, and biota at and around the

  Site.

          309. 3M had a duty to Plaintiffs to exercise due care in the

  design, manufacture, formulation, handling, control, disposal,

  marketing, sale, testing, labeling, use, and instructions for use

  of PFAS and/or products containing PFAS, and other pollutants and

  hazardous substances.

          310. Defendants breached these duties.

          311. As a direct and proximate result of DuPont’s, Chemours’,

  and Chemours FC’s discharge of hazardous substances and pollutants

  at Chambers Works, groundwater, surface water, sediment, wetlands,

  soils, biota, and other natural resources at and around the Site

  have been injured.       DuPont, Chemours, and Chemours FC are jointly

  and severally liable for such injuries and the consequential

  damages.



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         312. As a direct and proximate result of 3M’s negligence in

  designing PFAS and in failing to warn PFAS purchasers, the State,

  and others that it was reasonably foreseeable would be harmed by

  PFAS of the dangers of 3M’s products, groundwater, surface water,

  and other natural resources at and around Chambers Works became

  contaminated with PFAS in varying amounts over time, causing the

  State and its citizens significant injury and damage.

         313. As a further direct and proximate result of DuPont’s,

  Chemours’, and Chemours FC’s discharge of hazardous substances and

  pollutants at Chambers Works, the Department and the Administrator

  have    incurred,     are   incurring,       and   will   continue     to    incur

  investigation, cleanup and removal, treatment, monitoring and

  restoration costs, and expenses for which DuPont, Chemours, and

  Chemours FC are jointly and severally liable.

         314. Defendants committed each of the above-described acts

  and omissions with actual malice or with a wanton and willful

  disregard of persons who foreseeably might be harmed by those acts

  or omissions.

                                PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs request that this Court enter judgment

  against Defendants as follows:

         a.   Finding Defendants liable, jointly and severally, for

              all costs to investigate, clean up, restore, treat,

              monitor, and otherwise respond to contamination of the


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              State’s natural resources so that such natural resources

              are restored to their original condition, and for all

              damages to compensate the citizens of New Jersey for the

              lost use and value of their natural resources during all

              times    of   injury    caused    by    hazardous    substances       and

              pollutants, and for such orders as may be necessary to

              provide full relief to address risks to the State,

              including the costs of:

                      1)    Past and future testing of natural resources

                            likely to have been contaminated by hazardous

                            substances or pollutants;

                      2)    Past   and   future      treatment    of    all   natural

                            resources    containing        detectable    levels      of

                            hazardous substances or pollutants restored to

                            non-detectable levels; and

                      3)    Past and future monitoring of the State’s

                            natural resources to detect the presence of

                            hazardous     substances        or    pollutants,       and

                            restoration of such natural resources to their

                            pre-discharge condition;

        b.    Ordering Defendants to pay for all costs related to the

              investigation,       cleanup,     restoration,       treatment,       and

              monitoring      of   contamination      of    the   State’s     natural

              resources;


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        c.    Ordering Defendants to pay for all damages in an amount

              at least equal to the full cost of restoring the State’s

              natural resources to their original condition prior to

              the contamination;

        d.    Ordering Defendants to pay for all compensatory damages

              for the lost value (including lost use) of the State’s

              natural resources as a result of the contamination of

              such natural resources;

        e.    Ordering     Defendants      to   pay   for    all     other   damages

              sustained by Plaintiffs in their public trustee, parens

              patriae,     and   regulatory     capacities      as   a   direct     and

              proximate result of the Defendants’ acts and omissions

              alleged herein;

        f.    Entering an order against Defendants for all appropriate

              injunctive relief to abate or mitigate the contamination

              that Defendants caused;

        g.    Awarding Plaintiffs punitive damages in an amount to be

              determined by the Court;

        h.    Awarding     Plaintiffs     costs    and   fees   in    this   action,

              including attorneys’ fees, incurred in prosecuting this

              action, together with prejudgment interest, to the full

              extent permitted by law; and

        i.    Awarding Plaintiffs such other relief as this Court

              deems appropriate.


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                              Tenth Count
    (Abnormally Dangerous Activity – As Against DuPont, Chemours,
                           and Chemours FC)

        315. Plaintiffs        repeat   each    allegation     of   Paragraphs       1

  through 314 above as though fully set forth in its entirety herein.

        316. During      the    relevant    period,    DuPont,      Chemours,       and

  Chemours FC, utilized, disposed of, discharged, and emitted their

  PFAS at Chambers Works. These activities occurred in the immediate

  vicinity of the State’s natural resources, including groundwater,

  air, surface water, sediments and soils, wetlands, and biota.

        317. As a result of DuPont’s, Chemours’, and Chemours FC’s

  use of PFAS at Chambers Works, the State’s natural resources were

  contaminated by PFAS.

        318. The use of PFAS in the manufacture of other products and

  their disposal, discharge, and emission constitute ultra-hazardous

  activities that introduce an unusual danger into the community.

  These activities presented and continue to present a high degree

  of risk of harm to the State’s natural resources. These activities

  have presented a high likelihood that the harm they would cause

  would be great.      Neither Plaintiffs nor the broader community were

  able to eliminate this risk by the exercise of reasonable care,

  particularly in light of DuPont’s, Chemours’, and Chemours FC’s

  failure to provide an adequate warning about the dangers involved.

        319. The use, disposal, discharge, and emission of PFAS is

  not a matter of common usage in the areas in which DuPont,


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  Chemours, and Chemours FC carried out these activities, and these

  activities were inappropriate to carry out in these locations.

        320. At all relevant times, the risks of DuPont’s, Chemours’,

  and Chemours FC’s abnormally dangerous activities outweighed the

  value to the community.

        321. DuPont’s,        Chemours’,        and   Chemours   FC’s     acts      and

  omissions in using, disposing, discharging, and emitting PFAS in

  the areas in which they did proximately caused the contamination

  of the State’s natural resources.              DuPont, Chemours, and Chemours

  FC are thus strictly liable for the harm these ultra-hazardous

  activities caused.

        322. DuPont, Chemours, and Chemours FC committed each of the

  above-described acts and omissions with actual malice or with a

  wanton and willful disregard of persons who foreseeably might be

  harmed by those acts or omissions.

                                   PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs request that this Court enter judgment

  against DuPont, Chemours, and Chemours FC as follows:

        a.    Finding       DuPont,   Chemours,       and   Chemours    FC   liable,

              jointly and severally, for all costs to investigate,

              clean    up    and    remove,     restore,    treat,     monitor,     and

              otherwise respond to PFAS contamination in the State’s

              groundwater, surface waters, and other natural resources

              so that such natural resources are restored to their



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              original condition, and for all damages to compensate

              the citizens of New Jersey for the lost use and value of

              their    natural     resources    during    all   times    of   injury

              caused by PFAS products, and for such orders as may be

              necessary to provide full relief to address risks to the

              State, including the costs of:

                      1)   Past    and    future     testing    of    groundwater,

                           surface waters, and natural resources likely

                           to have been contaminated for the presence of

                           PFAS;

                      2)   Past and future treatment of all groundwater,

                           surface waters, and other natural resources

                           containing detectable levels of PFAS until

                           restored to non-detectable levels; and

                      3)   Past and future monitoring of the State’s

                           groundwater, surface waters, and other natural

                           resources to detect the presence of PFAS, and

                           restoration of such natural resources to their

                           pre-discharge condition;

        b.    Ordering DuPont, Chemours, and Chemours FC to pay for

              all     costs   related     to   the    investigation,       cleanup,

              restoration, treatment, and monitoring of contamination

              of the State’s groundwater, surface waters, and other

              natural resources caused by PFAS;


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         c.    Ordering DuPont, Chemours, and Chemours FC to pay for

               all damages in an amount at least equal to the full cost

               of restoring the State’s groundwater, surface waters,

               and other natural resources to their original condition

               prior to the contamination of such waters by PFAS;

         d.    Ordering DuPont, Chemours, and Chemours FC to pay for

               all compensatory damages for the lost value (including

               lost use) of the State’s groundwater, surface waters,

               and   other     natural    resources      as   a    result     of     the

               contamination of such natural resources with PFAS;

         e.    Ordering DuPont, Chemours, and Chemours FC to pay for

               all other damages sustained by Plaintiffs as a direct

               and proximate result of their acts and omissions alleged

               herein, including remedial, administrative, oversight,

               and legal fees and expenses;

         f.    Entering an order against DuPont, Chemours, and Chemours

               FC for all appropriate injunctive relief to abate or

               mitigate the PFAS contamination that they caused;

         g.    Awarding Plaintiffs punitive damages in an amount to be

               determined by this Court;

         h.    Awarding    Plaintiffs     costs    and   fees     in   this   action,

               including attorneys’ fees, incurred in prosecuting this

               action, together with prejudgment interest, to the full

               extent permitted by law; and


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         i.    Awarding Plaintiffs such other relief as this Court

               deems appropriate.

                            Eleventh Count
     (Strict Products Liability – Defective Design as Against 3M)

         323. Plaintiffs      repeat     each   allegation      of   Paragraphs      1

  through 322 above as though fully set forth in its entirety herein.

         324. 3M designed, manufactured, and sold PFAS that were used

  at Chambers Works during the relevant period.

         325. As a manufacturer and seller of PFAS, 3M had a duty to

  make and sell products that are reasonably fit, suitable, and safe

  for their intended or reasonably foreseeable uses.                  3M owed that

  duty both to reasonably foreseeable users of its products and also

  to any person who or property that might reasonably be expected to

  come into contact with those products.

         326. 3M’s PFAS were used in a reasonably foreseeable manner

  and without substantial change in the condition of such products.

  These products were defective and unfit for their reasonable use.

  3M’s PFAS foreseeably contaminated groundwater, surface water, and

  other natural resources at and around the Site.                      3M knew or

  reasonably should have known that its manufacture, transportation,

  and/or sale, as well as its customers’ use of 3M’s PFAS in an

  intended or reasonably foreseeable manner, would result in the

  spillage, discharge, disposal, or release of PFAS onto land or

  into water, including at Chambers Works.



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         327. PFAS     used   at    Chambers    Works    have    injured     and     are

  continuing to injure groundwater, surface water, and other natural

  resources at and/or around the Site.            These PFAS were defective in

  design and unreasonably dangerous because, among other things:

         a.    PFAS cause extensive and persistent contamination when

               they,    or    products   containing      them,    are    used   in    a

               reasonably foreseeable or intended manner;

         b.    PFAS contamination in groundwater and surface water that

               are the sources of drinking water poses significant

               threats to public health and welfare; and

         c.    3M    failed    to    conduct    and/or     failed       to   disclose

               reasonable, appropriate, or adequate scientific studies

               to evaluate the environmental fate and transport and

               potential ecological and human health effects of PFAS.

         328. At all times relevant to this action, the PFAS that 3M

  designed, manufactured, and sold were dangerous to an extent beyond

  that which would be contemplated by the ordinary consumer.

         329. At all times relevant to this action, the foreseeable

  risk to public health and welfare posed by 3M’s PFAS outweighed

  the cost to 3M of reducing or eliminating such risk.

         330. At all times relevant to this action, 3M knew or should

  have known about reasonably safer feasible alternatives to PFAS,

  and the omission of such alternative designs rendered 3M’s PFAS

  not reasonably safe.


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         331. As a direct and proximate result of the defects in the

  3M’s design, manufacture, and sale of PFAS, groundwater, surface

  water, and other natural resources at and/or near the Site became

  contaminated with PFAS in varying amounts over time, causing the

  State and its citizens significant injury and damage.

         332. As a direct and proximate result of 3M’s acts and

  omissions     as    alleged    herein,    Plaintiffs      have   incurred,         are

  incurring, and will continue to incur damages in an amount to be

  proved at trial related to PFAS contamination of groundwater,

  surface water, and other natural resources at and/or near the Site.

         333. As a further direct and proximate result of 3M’s acts

  and omissions alleged in this Complaint, Plaintiffs have incurred,

  and will continue to incur, investigation, cleanup and removal,

  restoration, treatment, monitoring, and other costs and expenses

  related to contamination of the groundwater, surface waters, and

  other natural resources at and/or near the Site with PFAS, for

  which Defendants are strictly, jointly, and severally liable.

         334. 3M knew it was substantially certain that its acts and

  omissions described above would cause the contamination and harms

  described herein.

         335. Plaintiffs seek redress for exposure to toxic chemicals

  and/or substances at the Site, an industrial site, caused by the

  use of PFAS.       Thus, this suit is an “environmental tort action” as




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  defined in the New Jersey Products Liability Act, N.J.S.A. 2A:58C-

  1 to -11.

         336. 3M     committed      each   of    the    above-described     acts     and

  omissions with actual malice or with a wanton and willful disregard

  of persons who foreseeably might be harmed by those acts or

  omissions.

         337. 3M     is    strictly    liable     for    all   such   damages,       and

  Plaintiffs are entitled to recover all such damages and other

  relief as set forth below.

                                    PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs request that this Court enter judgment

  against 3M as follows:

         a.    Finding 3M liable for all costs to investigate, clean up

               and   remove,     restore,       treat,    monitor,    and   otherwise

               respond to PFAS contamination at and around the Site so

               the contaminated natural resources are restored to their

               original condition, and for all damages to compensate

               the citizens of New Jersey for the lost use and value of

               these      natural    resources    during    all   times     of   injury

               caused by PFAS, and for such orders as may be necessary

               to provide full relief to address risks to the State,

               including the costs of:




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                     1)     Past and future testing of natural resources

                            at and around the Site likely to have been

                            contaminated by PFAS;

                     2)     Past      and    future    treatment    of   all   natural

                            resources at and around the Site containing

                            detectable levels of PFAS until restored to

                            non-detectable levels; and

                     3)     Past and future monitoring of the State’s

                            natural resources at and around the Site to

                            detect the presence of PFAS, and restoration

                            of   such       natural    resources    to   their      pre-

                            discharge condition;

         b.    Ordering     3M   to    pay    for     all   costs   related    to    the

               investigation,         cleanup,      restoration,    treatment,       and

               monitoring of PFAS contamination of the State’s natural

               resources;

         c.    Ordering 3M to pay for all damages in an amount at least

               equal to the full cost of restoring the State’s natural

               resources to their original condition prior to the PFAS

               contamination;

         d.    Ordering 3M to pay for all compensatory damages for the

               lost value (including lost use) of the State’s natural

               resources as a result of the PFAS contamination of such

               natural resources;


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         e.    Ordering 3M to pay for all other damages sustained by

               Plaintiffs in their public trustee, parens patriae, and

               regulatory capacities as a direct and proximate result

               of 3M’s acts and omissions alleged herein;

         f.    Entering an order against 3M to abate or mitigate the

               PFAS contamination that it caused at and around the Site;

         g.    Awarding Plaintiffs punitive damages in an amount to be

               determined by this Court;

         h.    Awarding    Plaintiffs     costs    and   fees   in     this   action,

               including     reasonable      attorneys’      fees,     incurred      in

               prosecuting      this   action,     together     with    prejudgment

               interest, to the full extent permitted by law; and

         i.    Awarding Plaintiffs such other relief as this Court

               deems appropriate.

                             Twelfth Count
      (Strict Products Liability – Failure to Warn as Against 3M)

         338. Plaintiffs      repeat     each   allegation      of   Paragraphs      1

  through 337 above as though fully set forth in its entirety herein.

         339. As a designer, manufacturer, and seller of PFAS, 3M had

  a strict duty to Plaintiffs and to those who were at risk of being

  harmed by PFAS to warn users of those products and the State of

  the foreseeable harms associated with them.              3M had a duty to warn

  the State about the dangers of PFAS because, among other things,

  the State is the trustee, for the benefit of its citizens, of all



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  natural resources within its jurisdiction; because the Department

  and   the   Commissioner      are    charged   with    enforcing     the    State’s

  environmental       laws   and      regulations;    and    because    the    State

  maintains a “quasi-sovereign” interest in the well-being of its

  residents.

         340. 3M inadequately warned users and buyers of its PFAS, the

  State, and others that it was reasonably foreseeable would be

  harmed by PFAS of the likelihood that 3M’s products would be

  released to the environment during their normal use, and of the

  widespread, toxic, and persistent effects of such releases.                        To

  the extent 3M provided any warnings about its products, they were

  not warnings that a reasonably prudent person in the same or

  similar circumstances would have provided with respect to the

  danger posed by PFAS, and the warnings did not convey adequate

  information on the dangers of PFAS to the mind of a reasonably

  foreseeable or ordinary user or bystander.

         341. Plaintiffs seek redress for exposure to toxic chemicals

  and/or substances at Chambers Works, an industrial site, caused by

  the use of PFAS. Thus, this suit is an “environmental tort action”

  as defined in the New Jersey Products Liability Act, N.J.S.A.

  2A:58C-1 to -11.

         342. Despite the fact that 3M knew or should have known about

  the risks of PFAS, 3M withheld such knowledge from Plaintiffs,

  other regulators, and the public.                Moreover, 3M affirmatively


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  distorted     and/or    suppressed     its    knowledge    and   the   scientific

  evidence linking its products to the unreasonable dangers they

  pose, and 3M instructed users to release its products directly to

  the ground where PFAS would infiltrate drinking water supplies.

         343. At no time relevant to this action did 3M warn users and

  buyers of its PFAS, the State, and others that it was reasonably

  foreseeable would be harmed by PFAS that PFAS would be released to

  the environment during their normal use, and of the widespread,

  toxic, and persistent effects of such releases.

         344. 3M’s PFAS were in the same condition when they were

  purchased and/or used as they were when they left 3M’s control.

  3M’s customers used 3M’s PFAS in a reasonably foreseeable manner

  and   without    any    substantial     change    in   the   condition     of      the

  products.

         345. Had 3M provided adequate warnings about the hazards

  associated with its PFAS, users and buyers of its PFAS, the State,

  and others that it was reasonably foreseeable would be harmed by

  PFAS would have heeded those warnings.

         346. As a direct and proximate result of 3M’s failure to warn

  of the hazards of PFAS, groundwater, surface water, and other

  natural resources at and around Chambers Works were contaminated

  with PFAS.

         347. As a direct and proximate result of 3M’s acts and

  omissions,     Plaintiffs     have   incurred,     are    incurring,    and     will


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  continue to incur damages related to PFAS contamination of its

  wells in an amount to be proved at trial.

         348. 3M knew it was substantially certain that its acts and

  omissions     described     above     would    cause    Plaintiffs’       injury   and

  damage.

         349. 3M     committed      each   of    the    above-described      acts    and

  omissions with actual malice or with a wanton and willful disregard

  of persons who foreseeably might be harmed by those acts or

  omissions.

         350. 3M     is    strictly    liable     for    all   such   damages,       and

  Plaintiffs are entitled to recover all such damages and other

  relief as set forth below.

                                    PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs request that this Court enter judgment

  against 3M as follows:

         a.    Finding 3M liable for all costs to investigate, clean up

               and   remove,     restore,       treat,    monitor,    and    otherwise

               respond to PFAS contamination at and around the Site so

               the contaminated natural resources are restored to their

               original condition, and for all damages to compensate

               the citizens of New Jersey for the lost use and value of

               these      natural    resources    during    all   times      of   injury

               caused by PFAS, and for such orders as may be necessary




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               to provide full relief to address risks to the State,

               including the costs of:

                     1)     Past and future testing of natural resources

                            at and around the Site likely to have been

                            contaminated by PFAS;

                     2)     Past      and    future    treatment    of   all   natural

                            resources at and around the Site containing

                            detectable levels of PFAS until restored to

                            non-detectable levels; and

                     3)     Past and future monitoring of the State’s

                            natural resources at and around the Site to

                            detect the presence of PFAS, and restoration

                            of   such       natural    resources    to   their      pre-

                            discharge condition;

         b.    Ordering     3M   to    pay    for     all   costs   related    to    the

               investigation,         cleanup,      restoration,    treatment,       and

               monitoring of PFAS contamination of the State’s natural

               resources;

         c.    Ordering 3M to pay for all damages in an amount at least

               equal to the full cost of restoring the State’s natural

               resources to their original condition prior to the PFAS

               contamination;

         d.    Ordering 3M to pay for all compensatory damages for the

               lost value (including lost use) of the State’s natural


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               resources as a result of the PFAS contamination of such

               natural resources;

         e.    Ordering 3M to pay for all other damages sustained by

               Plaintiffs in their public trustee, parens patriae, and

               regulatory capacities as a direct and proximate result

               of 3M’s acts and omissions alleged herein;

         f.    Entering an order against 3M to abate or mitigate the

               PFAS contamination that it caused at and around the Site;

         g.    Awarding Plaintiffs punitive damages in an amount to be

               determined by this Court;

         h.    Awarding    Plaintiffs     costs    and   fees   in     this   action,

               including     reasonable      attorneys’      fees,     incurred      in

               prosecuting      this   action,     together     with    prejudgment

               interest, to the full extent permitted by law; and

         i.    Awarding Plaintiffs such other relief as this Court

               deems appropriate.

                            Thirteenth Count
     (Actual Fraudulent Transfer – As Against DuPont and Chemours)

         351. Plaintiffs      repeat     each   allegation      of   Paragraphs      1

  through 350 above as though fully set forth in its entirety herein.

         352. Plaintiffs are and were creditors of Chemours at all

  relevant times.

         353. Through its participation in the Spinoff, as detailed

  above, Chemours transferred valuable assets to DuPont, including



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  the $3.9 billion dividend (the “Transfers”), while simultaneously

  assuming     significant      liabilities     pursuant     to   the    Separation

  Agreement (the “Assumed Liabilities”).

         354. The Transfers and Assumed Liabilities were made for the

  benefit of DuPont.

         355. At the time that the Transfers were made and the Assumed

  Liabilities were assumed, and until the Spinoff was complete,

  DuPont was in a position to, and in fact did, control and dominate

  Chemours.

         356. Chemours made the Transfers and incurred the Assumed

  Liabilities with the actual intent to hinder, delay and defraud

  the creditors or future creditors of Chemours.

         357. Plaintiffs have been harmed as a result of the Transfers.

         358. Under Del. Code. Tit. 6 Sec. 1301 to 1312 and N.J.S.A.

  25:2-20 to 25:2-34, Plaintiffs are entitled to void the Transfers

  and to recover property or value transferred to DuPont.

                                 PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs request that this Court enter judgment

  against DuPont and Chemours as follows:

         a.    Voiding the Transfers to the extent necessary to satisfy

               the Plaintiffs’ claims;

         b.    Awarding Plaintiffs prejudgment interest and attorneys’

               fees and costs; and




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         c.    Awarding Plaintiffs such other relief as this Court

               deems appropriate.

                            Fourteenth Count
       (Constructive Fraudulent Transfer – As Against DuPont and
                                Chemours)

         359. Plaintiffs      repeat     each   allegation      of   Paragraphs      1

  through 358 above as though fully set forth in its entirety herein.

         360. Plaintiffs are and were creditors of Chemours at all

  relevant times.

         361. Chemours did not receive reasonably equivalent value

  from DuPont in exchange for the Transfers and Assumed Liabilities.

         362. Each of the Transfers and Chemours’ assumption of the

  Assumed Liabilities was made to or for the benefit of DuPont.

         363. At the time that the Transfers were made and the Assumed

  Liabilities were assumed, and until the Spinoff was complete,

  DuPont was in a position to, and in fact did, control and dominate

  Chemours.

         364. Chemours made the Transfers and assumed the Assumed

  Liabilities when it was engaged or about to be engaged in a

  business for which its remaining assets were unreasonably small in

  relation to its business.

         365. Chemours was insolvent at the time or became insolvent

  as a result of the Transfers and its assumption of the Assumed

  Liabilities.




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         366. At the time that the Transfers were made and Chemours

  assumed the Assumed Liabilities, DuPont and Chemours intended

  Chemours to incur, or believed, or reasonably should have believed

  that Chemours would incur debts beyond its ability to pay as they

  became due.

         367. Plaintiffs have been harmed as a result of the Transfers.

         368. Under Del. Code. Tit. 6 Sec. 1301 to 1312 and N.J.S.A.

  25:2-20 to 25:2-34, Plaintiffs are entitled to void the Transfers

  and to recover property or value transferred to DuPont.

                                 PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs request that this Court enter judgment

  against DuPont and Chemours as follows:

         a.    Voiding the Transfers to the extent necessary to satisfy

               the Plaintiffs’ claims;

         b.    Awarding Plaintiffs prejudgment interest and attorneys’

               fees and costs; and

         c.    Awarding Plaintiffs such other relief as this Court

               deems appropriate.

                                     JURY DEMAND

         Plaintiffs are entitled to a jury trial and hereby demand a

  trial by jury.




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                            RULE 4:5-1 CERTIFICATION

         I hereby certify that, to the best of my knowledge and belief,

  the matter in controversy is not the subject of any action pending

  in any other court or of a pending arbitration proceeding, nor is

  any other action or arbitration proceeding contemplated, except

  the following pending actions: Carneys Point Township v. E.I. du

  Pont de Nemours & Company, et al., SLM-L-251-16; and Carneys Point

  Township v. NJDEP, SLM-C-7-18, NJDEP, et al. v. E.I. du Pont de

  Nemours    &   Company,    et    al.,   GLO-L-000388-19      (relating     to      the

  DuPont/Chemours “Repauno site”); NJDEP, et al. v. E.I. du Pont de

  Nemours    &   Company,    et    al.,   MID-L-002448-19      (relating     to      the

  DuPont/Chemours “Parlin site”); and NJDEP, et al. v. E.I. du Pont

  de Nemours & Company, et al., PAS-L-00936-19 (relating to the

  “Pompton Lakes site”).          I know of no other parties other than the

  parties set forth in this pleading who should be joined in the

  above action.      I recognize the continuing obligation of each party

  to file with the Court and serve on all parties an amended

  Certification if there is a change in the facts stated in the

  original Certification.

                          DESIGNATION OF TRIAL COUNSEL

         Pursuant to Rule 4:25-4, Plaintiffs designate Leonard Z.

  Kaufmann, Esq., as trial counsel in this matter.




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